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 1   SAMUEL R. MAIZEL (Bar No. 189301)
     samuel.maizel@dentons.com
 2   JOHN A. MOE, II (Bar No. 066893)
     john.moe@dentons.com
 3   DENTONS US LLP
     601 South Figueroa Street, Suite 2500
 4   Los Angeles, California 90017-5704
     Telephone:    (213) 623-9300
 5   Facsimile:    (213) 623-9924

 6   Attorneys for Debtor,
     GARDENS REGIONAL HOSPITAL
 7   AND MEDICAL CENTER, INC.

 8                                 UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                         LOS ANGELES DIVISION

11

12   In re,                                               Case No. 2:16-bk-17463-ER

13   GARDENS REGIONAL HOSPITAL AND                        Chapter 11
     MEDICAL CENTER, INC., dba GARDENS
14   REGIONAL HOSPITAL AND MEDICAL                        DENTONS US LLP'S SEVENTEENTH
     CENTER,'                                             MONTHLY FEE APPLICATION FOR
15                                                        ALLOWANCE AND PAYMENT OF
                         Debtor.                          INTERIM COMPENSATION AND
16                                                        REIMBURSEMENT OF EXPENSES FOR
                                                          THE PERIOD OF DECEMBER 2017
17
                                                          [No Hearing Required Pursuant to
18                                                        L.B.R. 9013-1(o)]

19

20

21
              1.     Dentons US LLP (the "Firm") submits its Seventeenth Monthly Fee Application (the
22
     "Application") for Allowance and Payment of Interim Compensation and Reimbursement of
23
     Expenses for the Period of December 2017 (the "Application Period") for work performed for
24
     Gardens Regional Hospital and Medical Center, Inc. In support of the Application, the Firm
25
     respectfully represents as follows:
26

27
     ' The Debtor is a California nonprofit public benefit corporation, Fed. Tax I.D. No. XX-XXXXXXX.
28   The Debtor's mailing address is: 21530 Pioneer Blvd., Hawaiian Gardens, California 90716.



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 1              2.     The Firm is counsel of record to Gardens Regional Hospital and Medical Center, Inc.,

 2   dba Gardens Regional Hospital and Medical Center. The Firm hereby applies to the Court for

 3   allowance and payment of interim compensation for services rendered and reimbursement of

 4   expenses incurred during the Application Period.

 5              3.     The Firm billed a total of $101,370.45 in fees and expenses during the Application

 6   Period. The total fees represent 197.6 hours expended during the period covered by this Application.

 7   These fees and expenses break down as follows:

 8         Period                         Fees                    Expenses                   Total
     December 2017                     $99,144.00                 $2,226.45               $101,370.45
 9

10              4.     Accordingly, the Firm seeks allowance of interim compensation in the amount of a
11   total of $81,541.65 at this time. This total is comprised as follows: $79,315.20 (80% of the fees for
12   services rendered) plus $2,226.45 (100% of the expenses incurred).
13              5.     As of August 9, 2017, the Firm has been paid $50,000.00 out of the prepetition
14   retainer totaling $50,000.00; in December 2016, the Firm was paid $100,000.00, and in February
15   2017 the Firm was paid $275,000.00; in December 2017, the Firm was paid $1,000,000.00 for a total
16   of $1,425,000.00.
17   Application Period                    Amount Paid by Debtor        Description of Fees/Costs
                                           [80% fees, 100% Costs]
18   First (June 2016 - August 2016)       $ 627,119.12                 80% of fees and 100% of expenses
     Second (September 2016)               $ 168,779.97                 80% of fees and 100% of expenses
19
     Third (October 2016)                  $ 206,499.47                 80% of fees and 100% of expenses
     Fourth (November 2016)                $ 215,400.47                 80% of fees and 100% of expenses
20
     Fifth (December 2016)                 $ 145,529.84                 80% of fees and 100% of expenses
21   Sixth (January 2017)                  $ 61,671.13                  80% of fees and 100% of expenses
     Seventh (February 2017)               $ -0-                        80% of fees and 100% of expenses
22   Eighth (March 2017)                   $ -0-                        80% of fees and 100% of expenses
     Ninth (April 2017)                    $ -0-                        80% of fees and 100% of expenses
23   Tenth (May 2017)                      $ -0-                        80% of fees and 100% of expenses
     Eleventh (June 2017)                  $ -0-                        80% of fees and 100% of expenses
24   Twelfth (July 2017)                   $ -0-                        80% of fees and 100% of expenses
     Thirteenth (August 2017)              $ -0-                        80% of fees and 100% of expenses
25   Fourteenth (September 2017)           $ -0-                        80% of fees and 100% of expenses
     Fifteenth (October 2017)              $ -0-                        80% of fees and 100% of expenses
26   Sixteenth (November 2017)             $ -0-                        80% of fees and 100% of expenses
     Seventeenth (December 2017)           $ -0-                        80% of fees and 100% of expenses
27   Total Paid to the Firm to Date        $1,425,000.00
28



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                                6.      To date, the Firm has incurred the following in fees (80%) and costs (100%):

                    2   Application Period                          Amount                 Description of Fees/Costs
                        First (June 2016 - August 2016)             $ 627,119.12           80% of fees and 100% of expenses
                    3   Second (September 2016)                     $ 168,779.97           80% of fees and 100% of expenses
                        Third (October 2016)                        $ 206,499.47           80% of fees and 100% of expenses
                    4   Fourth (November 2016)                      $ 215,400.47           80% of fees and 100% of expenses
                        Fifth (December 2016)                       $ 145,529.84           80% of fees and 100% of expenses
                    5                                               $ 162,408.42           80% of fees and 100% of expenses
                        Sixth (January 2017)
                        Seventh (February 2017)                     $ 74,928.02            80% of fees and 100% of expenses
                    6
                        Eighth (March 2017)                         $ 103,936.00           80% of fees and 100% of expenses
                    7   Ninth (April 2017)                          $ 73,036.85            80% of fees and 100% of expenses
                        Tenth (May 2017)                            $ 139,487.10           80% of fees and 100% of expenses
                    8   Eleventh (June 2017)                        $ 85,539.20            80% of fees and 100% of expenses
                        Twelfth (July 2017)                         $ 92,128.69            80% of fees and 100% of expenses
                    9   Thirteenth (August 2017)                    $ 54,677.36            80% of fees and 100% of expenses
                        Fourteenth (September 2017)                 $ 54,594.40            80% of fees and 100% of expenses
                   10   Fifteenth (October 2017)                    $ 94,975.14            80% of fees and 100% of expenses
   0 •ci-
   WI 0
   N
                        Sixteenth (November 2017)                   $ 75,013.85            80% of fees and 100% of expenses
                   11   Seventeenth (December 2017)                 $ 81,541.65            80% of fees and 100% of expenses
ado                     Subtotal of fees/costs                      $2,455,595.49          80% of fees and 100% of expenses
     Cr,
 CI-) < 0
                   12   Debtor's payments to the Firm               ($1,425,000.00)
 wZ
                                                                                            80% of fees and 100% of expenses
   nor
                   13   Total Owed to the Firm to Date              $1,030,595.49
z
0 C4

          t4C`i    14           7.      The amount payable to Dentons was subject to a Budget that was attached to the Final
Ll C./:   -I
    =
    H     z        15   Order Granting Debtor's Emergency Motion for Final Order (A) Authorizing the Debtor to Obtain
          <
          0
   0
    C             16    Postpetition Financing; (B) Authorizing the Debtor to use Cash Collateral and (C) Granting

                  17    Adequate Protection to Prepetition Secured Creditors, was submitted to the Court on July 28, 2016

                  18    [Docket No. 2571 The Debtor was authorized to pay, and paid Dentons $375,000.00.

                  19            8.      The Debtor now has repaid in full Strategic Global Management, Inc. on the debtor-

                  20    in-possession financing it provided to Gardens. The Secured Creditors, Harbor-Gardens Capital I,

                  21    LLC and RollinsNelson Group, LLC, have been paid in complete satisfaction of their claims in

                  22    accordance with the settlement agreements approved by this Court. The Debtor has placed in a

                  23    segregated account the amounts necessary to pay in full the remaining Secured Creditors. After

                  24    payment of the DIP lender, payment of secured creditors and reserving funds for additional secured

                  25    creditors, the Debtor holds funds in excess of that necessary to pay the additional secured creditors,

                  26    and, the Debtor, therefore, has paid a portion of professional fees in accordance with the

                  27    Professionals' Monthly Fee Applications.

                  28
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  1           9.      Attached hereto as Exhibit "A" is the name of each professional who performed

  2   services in connection with this case during the period covered by this Application and the hourly rate

  3   for each such professional. Attached hereto as Exhibit "B" are the detailed time and expense

  4   statements for the Application Period. Attached hereto as Exhibit "C" are Dentons' December 2017

  5   billing statements.

  6           10.     The Firm has served a copy of this Application on the Office of the United States

  7   Trustee, the above-captioned debtor (the "Debtor"), counsel to the Prepetition Secured Creditors, and

  8   counsel to the Official Committee of Unsecured Creditors (the "Committee") appointed in this case.

  9   The Application was served by either ECF of by first class mail, postage prepaid, on or about

10    November 9, 2017.

 11           11.     Notice of the filing of this Application will be served on the foregoing parties as well

12    as any party who has requested special notice in this chapter 11 case.

13            12.     Pursuant to this Court's Order Authorizing Interim Fee Procedures that was entered

14    on or about September 20, 2016 [Docket No. 406], the Debtor is authorized to make the payment

15    requested herein without a further hearing or order of this Court unless an objection to this

16    Application is filed with the Court and served upon the Notice Parties within ten (10) calendar days

17    after the date of mailing of the Notice of this Application. If such an objection is filed, the Debtor is

18    authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses without further

19    order of the Court. If no objection is filed, the Debtor is authorized to pay 80% of all fees requested in

20    the Application and 100% of the uncontested expenses without further order of the Court.

21            13.     The interim compensation and reimbursement of expenses sought in this Application

22    is not final. Upon the conclusion of this case, the Firm will seek fees and reimbursement of the

23    expenses incurred for the totality of the services rendered in this case. Any interim fees or

24    reimbursement of expenses approved by this Court and received by the Firm (along with any retainer)

25    will be credited against such final fees and expenses as may be allowed by this Court.

26            WHEREFORE, the Firm respectfully requests that the Debtor pay compensation to the Firm

27    as requested herein pursuant to and in accordance with the terms of the Order Authorizing Interim

28    Fee Procedures.
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 1   Dated: February 15, 2018                  DENTONS US LLP
                                               SAMUEL R. MAIZEL
 2                                             JOHN A. MOE, II

 3

 4                                             BY:      Is/John A. Moe, II
                                                        JOHN A. MOE, II
 5                                             A 1"1 ORNEYS FOR DEBTOR,
                                               GARDENS REGIONAL HOSPITAL AND
 6                                             MEDICAL CENTER, INC.

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                               EXHIBIT A
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                                          EXHIBIT A

                                  DENTONS' PROFESSIONALS




                Professional            Title                Rate
                Samuel R. Maizel        Partner             $650.00
                G. Newhouse             Partner             $650.00
                S. Walker               Partner             $650.00
                John A. Moe II          Partner             $595.00
                T. Moyron               Counsel             $550.00
                Ahmed R. Jinnah         Associate           $395.00
                A. Goodman              Associate           $250.00
                Kathryn M. Howard       Paralegal           $265.00
                T. Ryan                 Paralegal           $340.00




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                               EXHIBIT B
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                                            EXHIBIT B

                                  TIME AND EXPENSE STATEMENTS




               Project Category         Matter No.      Hours        Fees        Expenses
Administration                            000003         9.6         $2,714.50     $140.10
Asset Disposition                         000005         .5           $132.50           $ -0-
Claims Administration and                 000009        12.9         $7,411.50          $ -0-
Objections
Employment and Fee Applications           000012        20.0         $5,894.50        $31 .10
Litigation - Contested Matters and        000015        123.8       $66,390.50     $680.65
Adversary Proceedings
Non-Working Travel                        000017         4.6         $2,902.00          $ -0-
Plan and Disclosure Statement             000018         .9           $585.00           $ -0-
Relief from Stay & Adequate               000020         6.7         $3,425.50         $9.00
Protection
Reporting                                 000021         2.2          $583.00      $557.70
Appellate Proceedings                     000024        16,4         $9,105.50     $807.90
TOTAL                                                   197.6       $99,144.00    $2,226.45




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                               EXHIBIT C
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                                                        Dentons US LLP                       Salans FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                              January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                    Invoice No. 1974760
    USA

   Client/Matter: 15257497-000003

   Administration
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                                  2,854.60




                              Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                          OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons.com
                            In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 do Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974760
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000003

Administration


For Professional Services Rendered through December 31, 2017:

Date             Timekeeper                      Hours          Amount Narrative
12/01/17         K.M. Howard                       0.40           106.00 Reviewed and revised Critical Dates
                                                                         Memorandum.
12/04/17         K.M. Howard                       0.10             26.50 Received and reviewed communication from
                                                                          Brian Walton regarding payments.
12/05/17         K.M. Howard                       0.30             79.50 Reviewed and revised Critical Dates
                                                                          Memorandum.
12/11/17         K.M. Howard                       0.40           106.00 Reviewed docket and cross-referenced Court's
                                                                         noticed deadlines to the Critical Dates
                                                                         Memorandum.
12/12/17         K.M. Howard                       0.40           106.00 Gathered and assembled pleadings and
                                                                         documents to assist attorney in drafting motion
                                                                         to extend deadlines giving negative notice.
12/12/17         K.M. Howard                       1.90           503.50 Attention to file and case management
                                                                         including assembly of and organization of
                                                                         voluminous pleadings for incorporation.
12/12/17         K.M. Howard                       0.40           106.00 Reviewed bankruptcy docket and appellate
                                                                         docket to determine deadlines and noted same
                                                                         for inclusion into critical dates memorandum.
12/13/17         J.A. Moe, II                      0.20           119.00 [Creditors Committee
                                                                         Investigation/Mediation/Sycamore & Roxbury]
                                                                         Confer with Sam Maizel on tasks being
                                                                         performed and to be performed, including
                                                                         proceeding with a Settlement Agreement with
                                                                         the Weiner Parties, working though issues
                                                                         required to be resolved before proceeding a
                                                                         with a Settlement Agreement, sand authority to
                                                                         confer with Gary Klausner on status of
                                                                         completing draft of an Agreement.
12/14/17         K.M. Howard                      0.20             53.00 Prepared communications regarding deadlines
                                                                         pertaining to Creditors Committee's Motion for
                                                                         Leave to Prosecute.




                                                      2
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Administration
                                                                                           January 24, 2018
Matter: 15257497-000003
Invoice No.: 1974760

Date             Timekeeper             Hours     Amount Narrative
12/15/17         K.M. Howard             0.80      212.00 Reviewed and revised Critical Dates
                                                          Memorandum.
12/19/17         J.A. Moe, II            0.10       59.50 [Creditors Committee
                                                          Investigation/Mediation/Sycamore & Roxbury]
                                                          Confer with Sam Maizel on tasks being
                                                          performed and to be performed, including
                                                          telephone call with Gary Klausner on proposed
                                                          changes and issues with the Settlement
                                                          Agreement and Mr. Maizel's telephone call with
                                                          Brian Walton on discovery requested by the
                                                          Committee.
12/19/17         K.M. Howard             0.60      159.00 Reviewed and assembled key pleadings and
                                                          incorporated each into database.
12/20/17         J.A. Moe, II            0.10       59.50 [Accountable Health] Exchange E-mail with
                                                          Attorney Anne Uyea and E-Mail to Kathryn
                                                          Stanton on obtaining documents on the Case.
12/20/17         K.M. Howard             0.40      106.00 Reviewed and assembled key pleadings for
                                                          incorporation into case database and case files.
12/21/17         K.M. Howard             0.40      106.00 Reviewed appellate and bankruptcy dockets
                                                          and cross-referenced deadlines and hearing
                                                          dates to Critical Dates Memorandum.
12/22/17         K.M. Howard             0.70      185.50 Reviewed docket and culled hearing and
                                                          deadlines data for inclusion into Critical Dates
                                                          Memorandum(.3) and drafted Critical Dates
                                                          Memorandum (.4).
12/22/17         S. Maizel               0.10       65.00 Review and respond to emails re payment of
                                                          administrative expenses.
12/28/17         K.M. Howard             0.20       53.00 Reviewed documents and assembled
                                                          information requested by AmTrust and
                                                          prepared communications regarding same.
12/28/17         K.M. Howard             0.40      106.00 Reviewed and revised Critical Dates
                                                          Memorandum.
12/29/17         K.M. Howard             0.60      159.00 Prepared numerous communications regarding
                                                          pending deadlines and requirements set by
                                                          Judge Robles regarding pending settlements
                                                          and additional briefing.
12/29/17         K.M. Howard             0.90      238.50 Reviewed notes regarding Judge Robles'
                                                          briefing schedule and additional requirements
                                                          (.2) and reviewed and revised Critical Dates
                                                          Memorandum (.7).




                                            3
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Administration
                                                                                            January 24, 2018
Matter: 15257497-000003
Invoice No.: 1974760

Total Hours                                      9.60

Fee Amount                                                                                       $2,714.50

                                             DISBURSEMENT DETAIL

Date             Description                                                                       Amount
                 Document reproduction                                                                 1.70
                                                                                     SUBTOTAL          1.70
9/13/2017        LITIGATION SUPPORT VENDORS - -         USA LEGAL, INC.                              20.00
9/29/2017        LITIGATION SUPPORT VENDORS - -         USA LEGAL, INC.                              15.00
10/6/2017        LITIGATION SUPPORT VENDORS - -         USA LEGAL, INC.                              15.00
                                                                                     SUBTOTAL        50.00
12/7/2017        Outside Professional Services PACER, PUBLIC ACCESS TO COURT                         83.60
                 ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                 2637538-Q32017
12/7/2017        Outside Professional Services PACER, PUBLIC ACCESS TO COURT                           4.80
                 ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                 2637538-Q32017
                                                                                     SUBTOTAL        88.40
                 Total Disbursements                                                               $140.10

                        Fee Total                                         2,714.50


                       Disbursement Total                                   140.10



                       Invoice Total                                      2,854.60




                                                   4
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                                                                  Dentons US LLP                         Salans FMC SNR Denton
                                                                  601 S. Figueroa Street                 McKenna Long
             DENTONS                                              Suite 2500                             dentons.com
                                                                  Los Angeles, California 90017-5704

                                                                  For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                       January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                               Client/Matter #: 15257497-000003
             USA

             Administration

                                                     Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                   Payments/

         Date                 Invoice No.           Invoice Amount               Adjustments                         Total
         01/19/17             1853806                    16,047.76                  (3,200.76)                  12,847.00
         02/22/17             1865380                    18,194.56                    (719.56)                  17,475.00
         03/10/17             1870857                    16,992.16                 (2,415.66)                   14,576.50
         04/19/17             1883594                    13,483.40                 (2,546.90)                   10,936.50
         05/24/17             1895394                     2,879.40                     (61.40)                   2,818.00
         06/12/17             1900377                     9,668.50                 (1,424.00)                    8,244.50
         07/11/17             1907884                    12,561.60                 (1,566.60)                   10,995.00
         08/14/17             1920731                     6,956.35                    (117.35)                   6,839.00
         09/14/17             1930404                     4,758.50                 (1,389.00)                    3,369.50
         10/17/17             1942300                       860.00                     (38.50)                     821.50
         11/13/17             1951532                     1,378.50                         0.00                  1,378.50
         12/12/17             1963211                     2,404.00                         0.00                  2,404.00
         01/24/18             1974760                     2,854.60                         0.00                  2,854.60

                                                   Total Outstanding Invoices                                   $95,559.60




                                                Questions should be directed to:
                                                           S. Maize!
                                                      at 1 213 623 9300

                                              Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                                        Dentons US LLP                       Salons FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                              January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                    Invoice No. 1974748
    USA

   Client/Matter: 15257497-000005

   Asset Disposition
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                                    132.50




                              Please return this page with your payment

    Payments by check should be sent to:                        Payment by wire transfer should be sent to:
             Dentons US LLP                                                  Citi Private Bank
              Dept. 894579                         OR             227 West Monroe, Chicago, IL 60606
       Los Angeles, CA 90189-4579                                      ABA Transit # 271070801
                                                                        Account #: 0801051693
                                                                    Account Name: Dentons US LLP
                                                                         Swift Code: CITIUS33
                                                                Reference: Invoice # and/or client matter #



             Please send payment remittance advice information to cashreceipts@dentons.com
                           In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974748
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000005

Asset Disposition


For Professional Services Rendered through December 31, 2017:

Date             Timekeeper                      Hours           Amount Narrative
12/05/17         K.M. Howard                       0.10             26.50 Analysis of Debtor's Daily Cash Report to
                                                                          determine if payments were made to the OCPs.
12/06/17         K.M. Howard                       0.10             26.50 Reviewed Debtor's Daily Cash Report and
                                                                          culled information regarding Debtor's payment
                                                                          to Bienert Miller.
12/07/17         K.M. Howard                       0.10             26.50 Analysis of Debtor's Daily Cash Report to
                                                                          determine further disbursements to OCPs.
12/19/17         K.M. Howard                       0.10             26.50 Analysis of Debtor's Daily Cash Report to
                                                                          determine disbursement to OCPs.
12/21/17         K.M. Howard                       0.10             26.50 Analysis of Debtor's Cash Disbursements to
                                                                          determine any payments to OCPs.

Total Hours                                        0.50

Fee Amount                                                                                                             $132.50



                                              TIME AND FEE SUMMARY


        Timekeeper                                                         Rate             Hours                            Fees
        K.M. Howard                                                    $265.00                0.50                     $132.50

        Totals                                                                                0,50                     $132.50

                       Fee Total                                                       132.50



                       Invoice Total                                                   132.50




                                                      2
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                                           Main Document    Page 18 of 100
                                                                 Dentons US LLP                         Salans FMC SNR Denton
             DENTONS                                             601 S. Figueroa Street
                                                                 Suite 2500
                                                                                                        McKenna Long
                                                                                                        dentons.com
                                                                 Los Angeles, California 90017-5704

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                      January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                             Client/Matter #: 15257497-000005
             USA

             Asset Disposition

                                                    Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                 Payments/

         Date               Invoice No.           Invoice Amount                Adjustments                         Total
         12/13/16           1846124                    99,677.88                  (4,179.38)                   95,498.50
         01/19/17           1853831                    56,554.78                  (1,284.78)                   55,270.00
         02/22/17           1865391                   140,266.11                     (900.11)                139,366.00
         03/10/17           1870825                    28,724.35                     (438.35)                  28,286.00
         04/19/17           1883601                    37,793.10                  (2,741.60)                   35,051.50
         05/24/17           1895409                    42,258.70                     (371.70)                  41,887.00
         06/12/17           1900476                    55,186.00                    (406.00)                   54,780.00
         07/11/17           1907887                       9,902.90                  (169.90)                    9,733.00
         08/14/17           1920733                        225.98                     (40.48)                     185.50
         09/14/17          1930406                         909.50                     (35.00)                     874.50
         01/24/18          1974748                         132,50                        0.00                     132.50

                                                 Total Outstanding Invoices                                   $461,064 50




                                              Questions should be directed to:
                                                         S. Maize!
                                                    at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                                        Dentons US LLP                       Salans FMC SNR Denton
             EY-0                                       601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                              January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                    Invoice No. 1974750
    USA

   Client/Matter: 15257497-000009

   Claims Administration and Objections
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                                  7,411.50




                              Please return this page with your payment

   Payments by check should be sent to:                         Payment by wire transfer should be sent to:
            Dentons US LLP                                                   Citi Private Bank
             Dept. 894579                          OR             227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                       ABA Transit # 271070801
                                                                        Account #: 0801051693
                                                                    Account Name: Dentons US LLP
                                                                         Swift Code: CITIUS33
                                                                Reference: Invoice # and/or client matter #



             Please send payment remittance advice information to cashreceipts@dentons.com
                           In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
    Case 2:16-bk-17463-ER              Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                              Desc
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974750
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000009

Claims Administration and Objections


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                       Hours          Amount Narrative
12/01/17        J.A. Moe, II                       0.30           178.50 [Creditors Committee
                                                                         Investigation/Mediation/Directors & Officers]
                                                                         Revise third draft of the Notice/Submission on
                                                                         Amended Settlement Agreement with Directors
                                                                         & Officers, reviewing the necessity to
                                                                         completely reformat the pleading.
12/01/17        J.A. Moe, II                       1.60           952.00 [Creditors Committee
                                                                         Investigation/Mediation/Directors & Officers]
                                                                         Review and correct (through several iterations)
                                                                         the Notice Of Amended Settlement Agreement
                                                                         In Regard To Scheduled Hearing On Debtor's
                                                                         And Unsecured Creditors' Committee's
                                                                         Amended Joint Motion To Approve Terms And
                                                                         Conditions Of Settlement Agreement With
                                                                         Debtor's Current And Former Directors And
                                                                         Officers.
12/01/17        J.A. Moe, II                       1.10           654.50 [Creditors Committee
                                                                         Investigation/Mediation/Directors & Officers]
                                                                         Create, revise, correct and complete
                                                                         Declaration Of Service In Accordance With
                                                                         Court Order, on service and e-mail Notice Of
                                                                         Amended Joint Motion And Amended Joint
                                                                         Motion to approve Settlement Agreement with
                                                                         Directors & Officers.
12/01/17        J.A. Moe, II                      0.90            535.50 [Creditors Committee
                                                                         Investigation/Mediation/Directors & Officers]
                                                                         Create, revise and correct Corrected
                                                                         Declaration Of Service Of Notice Of Amended
                                                                         Joint Motion And Amended Joint Motion
                                                                         (correcting Declaration filed on November
                                                                         20th).




                                                      2
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Claims Administration and Objections
                                                                                                    January 24, 2018
Matter: 15257497-000009
Invoice No.: 1974750

Date            Timekeeper                     Hours     Amount Narrative
12/01/17        J.A. Moe, II                     1.10     654.50 [Creditors Committee
                                                                 Investigation/Mediation/Directors & Officers]
                                                                 Review edit, and complete, and instructions on
                                                                 filing and serving the Notice Of Amended
                                                                 Settlement Agreement, the Corrected
                                                                 Declaration and the Declaration Of Service, all
                                                                 in regard to approval of the Settlement
                                                                 Agreement with the Directors & Officers
                                                                 (scheduled for hearing on December 4th).
12/01/17        J.A. Moe, II                     0.10      59.50 [Creditors Committee
                                                                 Investigation/Mediation/Directors & Officers]
                                                                 Review Court's Tentative Ruling in favor of
                                                                 granting the Motion.
12/04/17        K.M. Howard                      0.10      26.50 Reviewed Debtor's Daily Cash Report to
                                                                 determine payments to professionals.
12/12/17        K.M. Howard                      0.30      79.50 Gathered and assembled materials to assist
                                                                 attorney in drafting motion to approve
                                                                 settlement between the Debtor and Cerner.
12/12/17        J.A. Moe, II                    0.50      297.50 [Cerner] Prepare rough draft of the Motion
                                                                 seeking approval of the Stipulation with Cerner
                                                                 on allowance of Cerner Claims; exchange E-
                                                                 Mails with Darrell Clark on review of the
                                                                 corrected Agreement.
12/12/17        J.A. Moe, II                    0.50      297.50 [Cerner] Prepare rough draft of the Motion
                                                                 seeking approval of the Stipulation with Cerner
                                                                 on allowance of Cerner Claims; exchange E-
                                                                 Mails with Darrell Clark on review of the
                                                                 corrected Agreement.
12/13/17        J.A. Moe, II                    0.10       59.50 [Cerner] Exchange E-Mails with Darrell Clark,
                                                                 and review proposed corrections to the
                                                                 Settlement Agreement.
12/13/17        J.A. Moe, II                    0.50      297.50 [Cerner] Assemble and review, comparing and
                                                                 correcting the latest version of the Stipulation
                                                                 with Cerner on its Claim, including Darrell
                                                                 Clark's corrections.
12/13/17        J.A. Moe, II                    0.40      238.00 [Cerner] Correct first draft of the Debtor's first
                                                                 draft of the Notice Of Motion And Motion For
                                                                 Entry Or An Order Approving Stipulation
                                                                 Resolving Claims Of Cerner Health Services,
                                                                 Inc.




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Claims Administration and Objections
                                                                                                 January 24, 2018
Matter: 15257497-000009
Invoice No.: 1974750

Date            Timekeeper                     Hours     Amount Narrative
12/13/17        J.A. Moe, II                    0.20      119.00 [Cerner] Review and correct the second draft
                                                                 Debtor's Notice Of Motion And Motion For
                                                                 Entry of Order Approving Stipulation Resolving
                                                                 Claims Of Cerner Health Services, Inc. ; review
                                                                 and note additions required to the attached
                                                                 Declaration Of Stan Otake.
12/13/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review and explain corrections
                                                                 required to the Stipulation Resolving Claims Of
                                                                 Cerner Health Services, Inc.
12/13/17        J.A. Moe, II                    0.20      119.00 [Cerner] Review and make minor correction to
                                                                 the Stipulation Resolving Claims Of Cerner
                                                                 Health Services, Inc.; review the corrected
                                                                 Stipulation and transmit to Darrell Clark.
12/13/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review and make minor correction to
                                                                 the Declaration Of Stan Otake in support of the
                                                                 Motion seeking approval of the Stipulation
                                                                 Resolving Claims Of Cerner Health Services,
                                                                 Inc..
12/14/17        J.A. Moe, II                    0.20      119.00 [Cerner] Exchange E-Mails with Darrell Clark on
                                                                 Mr. Clark's approval of the Agreement, and
                                                                 necessity to obtain the Committee's approval;
                                                                 E-Mail to Andrew Sherman transmitting redline
                                                                 of the corrected version of the Stipulation.
12/14/17        J.A. Moe, II                    0.20      119.00 [Cerner] Exchange E-Mails with Andrew
                                                                 Sherman on and research/review scheduled
                                                                 and filed Claim of Siemens; exchange E-Mail
                                                                 with Stan Otake on the amount due Cerner as
                                                                 set forth on the Debtor's books and records;
                                                                 review Proof Of Claim.
12/14/17        J.A. Moe, II                    0.10       59.50 [Cerner] Prepare Declaration in support of
                                                                 Stipulation with Cerner Health Systems, Inc., to
                                                                 be signed by a representative of Cerner.
12/14/17        J.A. Moe, II                    0.10       59.50 [Cerner] Prepare completely new Declaration
                                                                 in support of Stipulation with Cerner Health
                                                                 Systems, Inc., to be signed by Stan Otake.
12/14/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review Proof Of Claim filed by
                                                                 Cerner.




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Claims Administration and Objections
                                                                                                  January 24, 2018
Matter: 15257497-000009
Invoice No.: 1974750

Date            Timekeeper                     Hours     Amount Narrative
12/14/17        J.A. Moe, II                    0,20      119.00 [Cerner] Telephone call on status of resolution
                                                                 of the Cerner Claims, reviewing the Creditors
                                                                 Committee's position, the necessity to complete
                                                                 Declarations, and the likely insertion of
                                                                 additional information into the Motion seeking
                                                                 approval of the Stipulation with Cerner.
12/14/17        K.M. Howard                     0.20       53.00 Reviewed Claims Registry and culled Proof of
                                                                 Claim filed by Cerner including preparation of
                                                                 communication regarding same.
12/15/17        J.A. Moe, II                    0.30      178.50 [Cerner] Review and revise, and reorder, the
                                                                 revised Declaration Of Stan Otake in support of
                                                                 the Settlement Agreement with Cerner Health
                                                                 Services, Inc.; review the revised Declaration
                                                                 and transmit to Mr. Otake to complete.
12/15/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review the corrected Declaration to
                                                                 be completed by a Cerner representative, and
                                                                 transmit to Darrell Clerk with E-Mail for
                                                                 completion by Mr. Clark.
12/18/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review other Memoranda (Status
                                                                 Reports) filed in Superior Court Cases, for use
                                                                 in connection with the Motion to be filed in
                                                                 support the of the Settlement Stipulation
                                                                 reached with Cerner Health Systems.
12/18/17        J.A. Moe, II                    0.10       59.50 [Cerner] Telephone call from Stan Otake on
                                                                 compromising revised Declaration to be filed in
                                                                 support of the Settlement Stipulation with
                                                                 Cerner Health Systems.
12/18/17        J.A. Moe, II                    0.20      119.00 [Cerner] Review and reorder information with
                                                                 proposed Declaration Of Stan Otake (to be filed
                                                                 in support of the Cerner Stipulation); E-Mail the
                                                                 revised Declaration to Stan with request to
                                                                 complete description of services performed by
                                                                 Cerner.
12/18/17        J.A. Moe, II                    0.10       59.50 [Cerner] Outline revisions to the Debtor's
                                                                 Motion seeking approval of the Settlement
                                                                 Stipulation with Cerner Health Systems.
12/18/17        J.A. Moe, II                    0.20      119.00 [Cerner] Expand the Motion seeking approval of
                                                                 the Settlement Stipulation with Cerner Health
                                                                 Services to include broader description of the
                                                                 background of the bankruptcy case.




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Claims Administration and Objections
                                                                                                  January 24, 2018
Matter: 15257497-000006
Invoice No.: 1974750

Date            Timekeeper                     Hours     Amount Narrative
12/19/17        J.A. Moe, II                     0.30     178.50 [Cerner] Two iterations of minor corrections to
                                                                 the Motion seeking approval of the Settlement
                                                                 Stipulation with Cerner Health Systems, Inc.
12/19/17        J.A. Moe, II                     0.20     119.00 [Law Offices of Scott MacGalvary] Telephone
                                                                 call from Linda Michael on status of the
                                                                 settlement agreements, the issues over the
                                                                 agreement with the Weiner Parties and
                                                                 prospects for a small de minimis distribution to
                                                                 creditors; second telephone call Ms. Michael on
                                                                 amounts paid to Secured Creditors.
12/20/17        J.A. Moe, II                    0.10       59.50 [Cerner] Review three documents related to the
                                                                 Cerner Claim, and transmit in three E-Mails
                                                                 information for Andrew Sherman.
12/21/17        J.A. Moe, II                    0.20      119.00 [Cerner] Exchange E-Mails with Darrell Clark,
                                                                 and telephone call to Mr. Clark, on completing
                                                                 the Settlement Stipulation and proceeding with
                                                                 the Motion on approval.
12/27/17        J.A. Moe, II                    0.40      238.00 [Cerner] Continue work to complete Motion on
                                                                 approval of the Settlement Stipulation, including
                                                                 exchange of E-Mails with Stan Otake on his
                                                                 Declaration, obtaining the Declaration of the
                                                                 Cerner representative, and requesting the
                                                                 revisions to the Cerner Stipulation be
                                                                 completed.
12/28/17       J.A. Moe, II                     0.30      178.50 [Cerner] Continue to review documents to
                                                                 complete Motion with Attachments on approval
                                                                 of the Settlement Stipulation; review the
                                                                 returned signautre of Stan Otake; confer with
                                                                 Catherine in Mr. Clark's office on the final
                                                                 version of the Stipulation.
12/28/17       J.A. Moe, II                     0.10       59.50 [Cerner] Review E-Mail from Stan Otake on
                                                                 approval of Agreement with Cerner, and
                                                                 exchange E-Mails with Mr. Otake, Brain Walton
                                                                 and David Herskovitz on awaiting Darrell
                                                                 Clark's approval to proceed with Motion on
                                                                 Settlement Stipulation.
12/29/17       J.A. Moe, II                     0.80     476.00 [Cerner] Review and insure latest version of
                                                                the Settlement Stipulation is the correct
                                                                version, make correction, then complete the
                                                                Motion on approval of the Stipulation, reviewing
                                                                the Local Rules.




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Claims Administration and Objections
                                                                                                 January 24, 2018
Matter: 15257497-000009
Invoice No.: 1974750

Date             Timekeeper                    Hours     Amount Narrative
12/29/17         K.M. Howard                     0.10      26.50 Received and analyzed Notice Of Motion And
                                                                 Motion For Entry Of An Order Approving
                                                                 Stipulation Resolving Claims Of Cerner Health
                                                                 Services, Inc. to determine additional
                                                                 requirements.
12/29/17         K.M. Howard                     0.10       26.50 Prepared communications regarding pending
                                                                  deadlines regarding the Motion Approving the
                                                                  Stipulation to Resolve Claims of Cerner Health
                                                                  Services.
Total Hours                                     12.90
Fee Amount                                                                                             $7,411.50



                                             TIME AND FEE SUMMARY


        Timekeeper                                               Rate          Hours                        Fees
        J.A. Moe, II                                          $595.00           12.10                  $7,199.50
        K.M. Howard                                           $265.00            0.80                    $212.00
        Totals                                                                  12.90                  $7,411.50

                       Fee Total                                         7,411.50



                       Invoice Total                                      7,411.50




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                                                                   Dentons US LLP                         Salans FMC SNR Denton
             DENTONS                                               601 S. Figueroa Street
                                                                   Suite 2500
                                                                                                          McKenna Long
                                                                                                          dentons.com
                                                                   Los Angeles, California 90017-5704

                                                                   For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                        January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                                Client/Matter #: 15257497-000009
             USA

             Claims Administration and Objections

                                                      Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                   Payments/

         Date               Invoice No.             Invoice Amount                Adjustments                         Total
         12/13/16           1846099                       66,642.19                  (8,110.51)                  58,531.68
         01/19/17           1853835                       25,842.00                  (1,113.50)                  24,728.50
         02/22/17           1865397                        3,374.50                         0.00                  3,374.50
         03/10/17           1870858                        2,085.50                         0.00                  2,085.50
         04/19/17           1883617                        2,835.80                    (259.30)                   2,576.50
         05/24/17          1895413                           258.00                         0.00                    258,00
         06/12/17          1900403                         1,529.00                         0.00                  1,529.00
         07/11/17          1907891                           595.00                         0.00                    595.00
         08/14/17          1920735                           829.00                         0.00                    829.00
         09/14/17          1930409                           856.60                       (2.60)                    854.00
         10/17/17          1942307                         4,075.50                         0.00                  4,075.50
         11/13/17          1951543                         4,648.00                         0.00                  4,648.00
         12/12/17          1963212                         6,038.50                         0.00                  6,038.50
         01/24/18          1974750                         7,411.50                         0.00                  7,411.50

                                                    Total Outstanding Invoices                                  $117,535.18



                                              Questions should be directed to:
                                                         S. Maizel
                                                    at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER          Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                               Desc
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                                                        Dentons US LLP                       Salans FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                               January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                    Invoice No. 1974751
    USA

   Client/Matter: 15257497-000012

   Employment and Fee Applications
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                                  5,925.10




                              Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                          OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons.com
                            In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
    Case 2:16-bk-17463-ER            Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                Desc
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 do Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974751
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000012

Employment and Fee Applications


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                       Hours          Amount Narrative
12/01/17        K.M. Howard                        0.20             53.00 Reviewed communication from Stan Otake
                                                                          regarding information needed from counsel (.1)
                                                                          and prepared reply thereto (.1).
12/01/17        K.M. Howard                        0.20             53.00 Analysis of Debtors Daily Cash Report (.1) and
                                                                          culled information pertaining to amounts paid to
                                                                          counsel and OCPs (.1).
12/04/17        J.A. Moe, II                       0.10             59.50 [Ordinary Course Professionals] Review
                                                                          Memorandum on amount due Kathryn Stanton
                                                                          and transmit to Ms. Stanton.
12/04/17        K.M. Howard                        0.20             53.00 Reviewed communications regarding OCP
                                                                          payments (.1) and prepared replies thereto (.2).
12/04/17        K.M. Howard                       0.40            106.00 Reviewed latest monthly fee applications filed
                                                                         by Sills Cummis and culled information for
                                                                         inclusion into OCP payment chart.
12/04/17       K.M. Howard                        0.40            106.00 Reviewed latest monthly fee applications filed
                                                                         by Bienert Miller and culled information for
                                                                         inclusion into OCP payment chart.
12/05/17       K.M. Howard                        0.20              53.00 Prepared communication to Andrew Sherman
                                                                          requesting clarification of debtors payments to
                                                                          counsel for the unsecured creditors committee.
12/05/17       K.M. Howard                        0.80            212.00 Reviewed newly acquired material (.1) and
                                                                         reviewed and revised Chart of Fees and Costs
                                                                         Incurred by Counsel for Creditors Committee
                                                                         and Debtors Counsel (.7).
12/05/17       K.M. Howard                        0.40            106.00 Analysis of Dentons', Sills Cummis' and
                                                                         Biernart Millers monthly fee applications
                                                                         through September 2017 and culled fees and
                                                                         costs owed as of September 30, 2017, and
                                                                         included those amounts into the chart of
                                                                         information requested by secured creditors.




                                                     2
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Employment and Fee Applications
                                                                                             January 24, 2018
Matter: 15257497-000012
Invoice No.: 1974751

Date           Timekeeper                 Hours    Amount Narrative
12/05/17       J.A. Moe, II                0.10      59.50 [Ordinary Course Professionals] Exchange E-
                                                           Mails with Kathryn Stanton on additional Invoice
                                                           for 2017.
12/06/17       K.M. Howard                 0.60     159.00 Reviewed material and assembled information
                                                           to assist attorney in clarification of payments to
                                                           OCP Kathryn Stanton.
12/06/17       K.M. Howard                 0.10      26.50 Reviewed communication from Andrew
                                                           Sherman regarding status of $300,000 payment
                                                           by the Debtor.
12/06/17       K.M. Howard                 0.80     212.00 Reviewed communication from Andrew
                                                           Sherman and analysis of attached charts
                                                           reflecting percentages of disbursements and
                                                           amounts disbursed to Sills Cummis, Bienert
                                                           Miller and Lobel and culled applicable data.
12/06/17       K.M. Howard                 0.20      53.00 Reviewed followup communication from
                                                           Andrew Sherman regarding Debtor's $300,000
                                                           payment (.1) and prepared reply thereto (.1).
12/07/17       K.M. Howard                 0.80     212.00 Reviewed and cross-referenced newly received
                                                           information regarding disbursement of
                                                           payments to counsel for the creditors
                                                           committee and cross-referenced same to chart
                                                           of fees and incurred costs.
12/08/17       K.M. Howard                 0.20      53.00 Reviewed communications regarding payments
                                                           to OCPs (.1) and prepared replies explaining
                                                           the percentage and amounts of disbursements
                                                           (.1).
12/08/17       J.A. Moe, II                0.10      59.50 [Ordinary Course Professionals] Review
                                                           updated Report on amount due Kathryn
                                                           Stanton and transmit to Ms. Stanton;
                                                           telephone call to Ms. Stanton's office;
                                                           exchange E-Mails on amount due.
12/11/17       J.A. Moe, II                0.10      59.50 [Ordinary Course Professionals] Telephone call
                                                           from Stan Otake on negotiating amount payable
                                                           to OCPs.
12/11/17       K.M. Howard                 0.20      53.00 Analysis of debtor's daily cash report and culled
                                                           information reflecting payment to Lobel
                                                           Weiland.
12/12/17      K.M. Howard                  0.10      26.50 Analysis of debtor's daily cash reports to
                                                           determine payments to OCPs.




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Employment and Fee Applications
                                                                                            January 24, 2018
Matter: 15257497-000012
Invoice No.: 1974751

Date           Timekeeper                 Hours     Amount Narrative
12/12/17       K.M. Howard                  0.70     185.50 Reviewed underlying data regarding fees and
                                                            costs incurred by Dentons and Counsel to the
                                                            Creditors Committee and reviewed and revised
                                                            charts reflecting fees and costs.
12/13/17       K.M. Howard                  0.90     238.50 Analysis of Dentons' October Billing Statements
                                                            and culled data for inclusion into Exhibit A -
                                                            Dentons' Professionals in support of Dentons
                                                            Fifteenth Fee Application.
12/13/17       K.M. Howard                  1.10     291.50 In conjunction with preparing monthly fee
                                                            application, analysis of Dentons' Billing
                                                            Statements by project categories for October
                                                            2017 and culled information for inclusion into
                                                            Exhibit B - Time and Expense Statements.
12/13/17       K.M. Howard                  0.80     212.00 Reviewed data culled by project category and
                                                            drafted Exhibit B - Time and Expense
                                                            Statements.
12/13/17       K.M. Howard                  0.40     106.00 Analysis of information received from counsel
                                                            for creditors committee reflecting
                                                            disbursements of amounts previously paid by
                                                            the debtor.
12/13/17       K.M. Howard                 0.60      159.00 Reviewed and revised chart of fees and costs
                                                            incurred by counsel to Creditors Committee to
                                                            reflect percentages of disbursements of
                                                            previous payments.
12/14/17       K.M. Howard                 1.20      318.00 Analysis of percentages and disbursements of
                                                            Debtor's payment to Dentons and cross-
                                                            referenced to Dentons' Billing Statements to
                                                            credit payments.
12/14/17       K.M. Howard                 1.80      477.00 Drafted Dentons' Fifteenth Monthly Fee
                                                            Application.
12/14/17       K.M. Howard                 0.10       26.50 Coordinated filing and service of Dentons'
                                                            Fifteenth Monthly Fee Application.
12/14/17       J.A. Moe, II                0.60      357.00 Review and edit through several iterations the
                                                            Fifteenth Monthly Fee Application, including
                                                            revising the amounts now paid to Dentons,
                                                            updating the descriptions of what has happened
                                                            in the case updating two Charts in the
                                                            Application.
12/15/17       K.M. Howard                 0.10      26.50 Reviewed debtor's daily cash report to
                                                           determine amount of disbursements to
                                                           professionals.




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Employment and Fee Applications
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Date           Timekeeper                 Hours     Amount Narrative
12/15/17       K.M. Howard                 0.40      106.00 Finalized exhibits to Dentons' Fifteenth Monthly
                                                            Fee Application and coordinated filing of same.
12/19/17       K.M. Howard                 0.20       53.00 Analysis of Application to Employ Solomon &
                                                            Cramer as Special Litigation Counsel and
                                                            supportive declarations to determine opposition
                                                            deadlines and noticed hearing.
12/19/17       K.M. Howard                 0.40      106.00 Initial review of Dentons December 2017 billing
                                                            statements in conjunction with preparing
                                                            Monthly Fee Application.
12/20/17       K.M. Howard                 0.60      159.00 Reviewed underlying data and prepared chart
                                                            reflecting Dentons' Fees and Costs through
                                                            May 2017.
12/20/17       K.M. Howard                 0.40      106.00 Reviewed Master Fees and Costs Chart and
                                                            culled information for inclusion into second
                                                            chart for limited purposes.
12/22/17       K.M. Howard                 0.10       26.50 Analysis of debtor's daily cash report to
                                                            determine any payments to professionals or
                                                            ordinary course professionals.
12/22/17       K.M. Howard                 0.40      106.00 Reviewed fees and costs chart and culled
                                                            information reflecting the amounts paid to all
                                                            professional in conjunction with preparing the
                                                            Notice of Fifteenth Monthly Fee Application for
                                                            October 2017.
12/22/17       K.M. Howard                 0.70      185.50 Reviewed notes and underlying data and
                                                            drafted Notice of Fifteenth Monthly Fee
                                                            Application for October 2017.
12/22/17       K.M. Howard                 0.40      106.00 Reviewed Monthly Fee Application for October
                                                            2017 filed by Bienert Miller and culled
                                                            information for inclusion into Notice of Fifteenth
                                                            Monthly Fee Application.
12/22/17       K.M. Howard                 0.40     106.00 Analysis of Monthly Fee Application for October
                                                           2017 filed by Sills Cummis and culled
                                                           information for inclusion into Notice of Fifteenth
                                                           Monthly Fee Application.
12/26/17       J.A. Moe, II                0.20     119.00 Revise the explanations in the Footnotes in the
                                                           Notice Of Fifteenth Monthly Fee Applications, in
                                                           correcting the Footnotes on the amounts paid to
                                                           multiple Professionals.




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Employment and Fee Applications
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Date            Timekeeper                    Hours       Amount Narrative
12/28/17        J.A. Moe, II                    0.60       357.00 [Creditors Committee
                                                                  Investigation/Mediation/Sycamore & Roxbury]
                                                                  Review the Order on the Ordinary Course
                                                                  Professionals, and review Kathryn Stanton's
                                                                  Declaration; search and review the Ken Yood
                                                                  Declaration and the original Application; E-Mail
                                                                  to Brian Walton and David Herskovitz
                                                                  transmitting OCP documents.
12/28/17        K.M. Howard                     0.30        79.50 Gathered and assembled OCP motion including
                                                                  declarations prepared by each ordinary course
                                                                  professionals and prepared communications
                                                                  regarding same.
12/29/17        K.M. Howard                     0.40       106.00 Reviewed and revised Notice Of Fifteenth
                                                                  Monthly Fee Applications Of 1) Dentons US
                                                                  LLP; 2) Sills Cummis & Gross P.C.; And 3)
                                                                  Bienert Miller & Katzman PLC LLP For
                                                                  Allowance And Payment Of Interim
                                                                  Compensation And Reimbursement Of
                                                                  Expenses For The Period Of October 2017.
Total Hours                                    20.00

Fee Amount                                                                                               $5,894.00



                                           TIME AND FEE SUMMARY


       Timekeeper                                                Rate           Hours                         Fees
       J.A. Moe, II                                           $595.00             1.80                   $1,071.00
       K.M. Howard                                            $265.00            18.20                   $4,823.00
       Totals                                                                    20.00                   $5,894.00

                                            DISBURSEMENT DETAIL

Date            Description                                                                               Amount
12/7/2017       Outside Professional Services PACER, PUBLIC ACCESS TO COURT                                  31.10
                ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                2637538-Q32017
                                                                                         SUBTOTAL            31.10
                Total Disbursements                                                                         $31.10




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                                                                                    January 24, 2018
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                      Fee Total                              $     5,894.00


                      Disbursement Total                              31.10



                      Invoice Total                                5,925.10




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                                                                 Dentons US LLP                         Salans FMC SNR Denton
             DENTONS                                             601 S. Figueroa Street                 McKenna Long
                                                                 Suite 2500                             dentons.com
                                                                 Los Angeles, California 90017-5704

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                      January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000012
             USA

             Employment and Fee Applications

                                                    Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                  Payments/

         Date              Invoice No.             Invoice Amount               Adjustments                         Total
         12/13/16          1846106                        7,730.00                        0.00                  7,730.00
         01/19/17          1853838                        9,335.50                        0.00                  9,335.50
         02/22/17          1865400                        6,847.30                    (60.30)                   6,787.00
         03/10/17          1870860                        3,277.00                    (15.00)                   3,262.00
         04/19/17          1883632                        4,550.50                        0.00                  4,550.50
         05/24/17          1895414                        1,709.00                        0.00                  1,709.00
         06/12/17          1900407                        2,019.00                        0.00                  2,019.00
         07/11/17          1907892                        2,867.50                        0.00                  2,867.50
         08/14/17          1920736                        2,881.50                        0.00                  2,881.50
         09/14/17          1930410                        1,868.00                        0.00                  1,868.00
         10/23/17          1942308                        1,735.50                        0.00                  1,735.50
         11/13/17          1951544                        2,278.50                        0.00                  2,278.50
         12/12/17          1963213                        4,913.50                        0.00                  4,913.50
         01/24/18          1974751                        5,925.10                        0.00                  5,925.10

                                                  Total Outstanding Invoices                                   $57 862.60



                                               Questions should be directed to:
                                                          S. Maizel
                                                     at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                                        Dentons US LLP                       Salans FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                               January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                    Invoice No. 1974753
    USA

   Client/Matter: 15257497-000015

   Litigation - Contested Matters and Adversary Proceedings
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                                 67,071.15




                              Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                          OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



             Please send payment remittance advice information to cashreceipts@dentons.com
                           In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maize!
                                        at 1 213 623 9300
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                                                                Dentons US LLP                       Salons FMC SNR Denton
  1 11                                                          601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974753
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000015

Litigation - Contested Matters and Adversary Proceedings


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                         Hours        Amount Narrative
12/01/17        K.M. Howard                          0.20           53.00 Analysis of Judge Robles Tentative Ruling
                                                                          regarding the Motion to Approve Settlement
                                                                          Agreement and culled same.
12/01/17        K.M. Howard                          0.20           53.00 Received and culled Notice of Amended
                                                                          Settlement Agreement for incorporation into
                                                                          document management system.
12/01/17        K.M. Howard                          0.10           26.50 Prepared communications to the client
                                                                          regarding Judge Robles' tentative ruling
                                                                          pertaining to the December 4, 2017 hearing.
12/01/17        K.M. Howard                          0.60         159.00 Further work on assembling and organizing
                                                                         documents for inclusion into December 4, 2017
                                                                         hearing binder.
12/01/17        K.M. Howard                         0.30           79.50 Organized and finalized the contents of the
                                                                         December 4, 2017 hearing binder.
12/01/17        A. Jinnah                           0.40          158.00 Review Accountable Status of bankruptcy
                                                                         hearing papers to be conducted on 12/14/17.
12/01/17        K.M. Howard                         0.30           79.50 Reviewed docket and culled information for
                                                                         inclusion into debtor's Notice of Amended
                                                                         Settlement.
12/01/17        K.M. Howard                         0.10           26.50 Analysis of Corrected Declaration in support of
                                                                         Notice of Amended Settlement.
12/04/17        K.M. Howard                         0.30           79.50 Gathered and assembled Judge Robles'
                                                                         Memorandum of Decision regarding RNG's
                                                                         Claim and the Compromise Motion and
                                                                         Amended Orders (.2) and prepared
                                                                         communications regarding same (.1).
12/04/17        K.M. Howard                         0.60          159.00 Reviewed monthly fee applications and culled
                                                                         information for inclusion into Chart of
                                                                         Information Requested by Secured Creditors.




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Date            Timekeeper                        Hours     Amount Narrative
12/04/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Review Michaela Sozio's E-Mail and telephone
                                                                    call to Michaela Sozio on Jon Pastor's change
                                                                    to the Settlement Agreement, deleting
                                                                    paragraph 1.2; exchanges E-Mails with Gary
                                                                    Torrell and telephone call with Andrew
                                                                    Sherman on deletion.
12/04/17        J.A. Moe, II                        1.40     833.00 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Review Judge Robles' Tentative Ruling and
                                                                    prepare oral argument for the hearing on
                                                                    approval of the Motion seeking approval of the
                                                                    Settlement Agreement with the Directors &
                                                                    Officers, awaiting arrival of Michaela Sozio and
                                                                    Brian Walton, and the hearing.
12/04/17        J.A. Moe, II                        0.40    238.00 [Creditors Committee
                                                                   Investigation/Mediation/Directors & Officers]
                                                                   Appear before Judge Robles obtaining approval
                                                                   of the Settlement Agreement , as modified, with
                                                                   the Directors & Officers.
12/04/17        J.A. Moe, II                        0.10     59.50 [Creditors Committee
                                                                   Investigation/Mediation/Directors & Officers]
                                                                   Confer with Tom Lallas and Michaela Sozio on
                                                                   the contents of the Order approving the
                                                                   Settlement Agreement.
12/04/17        J.A. Moe, II                        0.30    178.50 [Creditors Committee
                                                                   Investigation/Mediation/Directors & Officers]
                                                                   Prepare draft of Order approving the Settlement
                                                                   Agreement.
12/04/17       J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                   investigation/Mediation/Directors & Officers]
                                                                   Review signatures of Jeff Ahlholm and William
                                                                   Nelson, received from Gary Torrell; exchange
                                                                   E-Mails with Mr. Torrell on correcting the
                                                                   Settlement Agreement,
12/04/17       J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                   investigation/Mediation/Directors & Officers]
                                                                   Telephone call to Oscar Huerta on completing
                                                                   the check to RollinsNelson.




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                                                                                                    January 24, 2018
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Date            Timekeeper                         Hours    Amount Narrative
12/04/17        J.A. Moe, II                         0.20     119.00 [Creditors Committee
                                                                     investigation/Mediation/Directors & Officers]
                                                                     Exchange E-Mails with Gary Torre!l and make
                                                                     one additional correction to the Stipulation
                                                                     attached to the Settlement Agreement, and
                                                                     transmit back to counsel.
12/04/17        J.A. Moe, II                         0.20     119.00 [Creditors Committee
                                                                     investigation/Mediation/Sycamore & Roxbury]
                                                                     Prepare for meeting with Brian Walton on the
                                                                     upcoming Mediation.
12/04/17        J.A. Moe, II                         2.70   1,606.50 [Creditors Committee
                                                                     investigation/Mediation/Sycamore & Roxbury]
                                                                     Conference with Brian Walton, first on sources
                                                                     and uses of cash currently in the Estate and
                                                                     funds expected to come into the Estate, and on
                                                                     strategy for and preparation regarding the
                                                                     upcoming Mediation.
12/04/17        J.A. Moe, II                         0.10      59.50 [Creditors Committee
                                                                     investigation/Mediation/Sycamore & Roxbury]
                                                                     Confer with Brian Walton on sharing
                                                                     unredacted Briefs; exchange E-Mails with
                                                                     Andrew Sherman on Mr. Sherman's decision
                                                                     not to exchange Mediation Briefs.
12/04/17        J.A. Moe, II                        0.20      119.00 [Creditors Committee
                                                                     investigation/Mediation/Directors & Officers]
                                                                     Exchange additional E-Mails with Gary Torrell
                                                                     and make yet additional correction to the
                                                                     Stipulation attached to the Settlement
                                                                     Agreement, and transmit to Stan Otake for
                                                                     signature; telephone call to Stan Otake on need
                                                                     for signature on Stipulation with December
                                                                     date.
12/04/17        J.A. Moe, II                        0.10       59.50 [Creditors Committee investigation/Mediation]
                                                                     Commence assembling documents for the
                                                                     Mediation on December 6th.
12/04/17       A. Jinnah                            0.30     118.50 Review Gardens underlying cases and update
                                                                    chart regarding same.
12/04/17       S. Maize!                            0.10       65.00 Telephone conference with J. Zive re
                                                                     mediation.
12/04/17       S. Maize)                            1.80    1,170.00 Meeting with Brian Walton re mediation issues.
12/04/17       S. Maize)                            0.10      65.00 Telephone conference with G. Klausner re
                                                                    mediation issues.



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Date            Timekeeper                         Hours       Amount Narrative
12/05/17        J.A. Moe, II                         0.10        59.50 [Creditors Committee
                                                                       investigation/Mediation/Sycamore & Roxbury]
                                                                       Continue to assemble documents for the
                                                                       Mediation on December 6th.
12/05/17        J.A. Moe, II                         0.20       119.00 [Creditors Committee
                                                                       investigation/Mediation/Directors & Officers]
                                                                       Review Court's Report in the Daily Register;
                                                                       revise the Court Order to reflect new
                                                                       information requested by the Court on the
                                                                       Order approving the Settlement Agreement
12/05/17        J.A. Moe, II                         0.60       357.00 [Creditors Committee
                                                                       investigation/Mediation/Sycamore & Roxbury]
                                                                       Telephone call returned from Gary Klausner on
                                                                       preparation for the Mediation, exchanging
                                                                       unredacted Briefs, analysis of Claims and
                                                                       request for updated Chart.
12/05/17        J.A. Moe, II                         0.20       119.00 [Creditors Committee
                                                                       investigation/Mediation/Sycamore & Roxbury]
                                                                       Continue to assemble documents for use at the
                                                                       Mediation on December 6th.
12/05/17        J.A. Moe, II                         0.40       238.00 [Creditors Committee
                                                                       investigation/Mediation/Sycamore & Roxbury]
                                                                       In response to Gary Klausner's request:
                                                                       Commence work on updating Chart on financial
                                                                       status of the Debtor.
12/05/17        J.A. Moe, II                         0.60       357.00 [Creditors Committee Investigation/Directors &
                                                                       Officers] Complete Order approving the
                                                                       Settlement Agreement, and transmit to Counsel
                                                                       for approval; exchange E-Mails with Gary
                                                                       Torrell on approval and from Tom Lallas on
                                                                       three corrections.
12/05/17        J.A. Moe, II                        0.20        119.00 [Creditors Committee
                                                                       investigation/Mediation/Directors & Officers]
                                                                       Review and work through uploading on LOU
                                                                       the proposed Order approving the Amended
                                                                       Settlement Agreement.
12/05/17        J.A. Moe, II                        0.70        416.50 [Creditors Committee
                                                                       investigation/Mediation/Sycamore & Roxbury]
                                                                       Review and correct two more iterations of the
                                                                       updated Chart on the financial status of the
                                                                       Debtor for Gary Klausner (awaiting completion
                                                                       of the Chart for review for delivery); prepare E-
                                                                       Mail transmitting Chart to Gary Klausner.



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Date            Timekeeper                         Hours    Amount Narrative
12/05/17        J.A. Moe, II                         0.30     178.50 [Cerner] Review and correct the Stipulation
                                                                     resolving three categories of Claims held by
                                                                     Cerner.
12/05/17        J.A. Moe, II                         0.20     119.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Review and correct the first draft of the updated
                                                                     Chart on financial status of the Debtor for Gary
                                                                     Klausner (and await completion of the Chart for
                                                                     review).
12/05/17        K.M. Howard                          0.90     238.50 Assembled and organized all pleadings and
                                                                     materials regarding the Continued Status
                                                                     Conference.
12/05/17        K.M. Howard                          0.50    132.50 Reviewed assembled material (.1) and drafted
                                                                    index to binder for the Continued Status
                                                                    Conference (.4).
12/05/17        K.M. Howard                          0.40    106.00 Prepared and finalized binders for use at
                                                                    Continued Status Conference.
12/05/17        K.M. Howard                         0.30       79.50 Reviewed and further revision to Chart of
                                                                     Information Requested by Secured Creditors.
12/06/17        J.A. Moe, II                        0.90     535.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Prepare for Mediation with the Weiner Parties,
                                                                    reviewing documents, meeting with Brian
                                                                    Walton, David Herskovitz and Sam Maizel.
12/06/17        J.A. Moe, II                        7.40    4,403.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Attend and participate in the Mediation with the
                                                                     Weiner Parties (Berle Weiner, Selwin & Weiner,
                                                                     S & W Health Management Services,
                                                                     Sycamore Healthcare Services, and Roxbury
                                                                     Healthcare Services).
12/06/17        J.A. Moe, II                        0.40     238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Meet with Andrew Sherman and Boris
                                                                    Mankovetskiy on settlement with the Weiner
                                                                    Parties
12/06/17        J.A. Moe, II                        0.20     119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call to Gary Klausner on settlement
                                                                    reached with the Weiner parties, and the
                                                                    necessity to obtain documents and information
                                                                    in order to prepare a Settlement Agreement.



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12/06/17        S. Maizel                            8.00   5,200,00 Participate in mediation of claims against
                                                                     Weiner entities in front of Judge Zive.
12/06/17        S. Maize!                            0.60    390.00 Telephone conference with E. Weissman re
                                                                    Weiner settlement (.5); telephone conference
                                                                    with A. Sherman re Weiner settlement (.1).
12/06/17        K.M. Howard                          0.70    185.50 Gathered and assembled material to assist
                                                                    attorney in drafting settlement agreement with
                                                                    Beryl Weiner and his related entities.
12/07/17        S. Maize!                            0.40    260.00 Telephone conference with E. Weissman re
                                                                    Weiner settlement (.1); telephone conference
                                                                    with J. Moe re same (.1); telephone conference
                                                                    with D. Herskovitz re same (.1); telephone
                                                                    conference with A. Sherman re same (.1).
12/07/17        S. Maize!                            0.20    130.00 Review and respond to emails re Weiner
                                                                    settlement (.1); review letter from A. Sherman
                                                                    re same (.1).
12/07/17        J.A. Moe, II                        0.30     178.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call to Gary Klausner on settlement
                                                                    reached at Mediation, with the Weiner Parties,
                                                                    the necessity to obtain the Resume of the
                                                                    Attorneys who will prosecute claims against
                                                                    insurance carriers, and commencing work on
                                                                    Settlement Agreement on December 8th.
12/07/17        J.A. Moe, II                        0.30     178.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call to Susan Walker, reviewing the
                                                                    background to the Gardens' Case and the
                                                                    Weiner Parties' claims for bad faith against
                                                                    insurance carriers, and prosecuting claims for
                                                                    bad faith against insurance companies who
                                                                    refused to provide a defense and who refused
                                                                    to pay claim.
12/07/17       S. Walker                            0.40     260.00 Teleconference, J. Moe regarding general
                                                                    concept of assignment of bad faith claim.
12/07/17       K.M. Howard                          0.10      26.50 Reviewed transcript hearing request submitted
                                                                    by Creditors Roxbury Healthcare and Sycamore
                                                                    Healthcare.




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12/08/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Correct through two additional iterations the
                                                                    draft of the Settlement Agreement with the
                                                                    Weiner parties.
12/08/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call from Gary Klausner on
                                                                    continuing work to proceed with a Settlement
                                                                    Agreement with the Weiner Parties.
12/08/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call returned to Judge Zive on
                                                                    receipt of letter form Andrew Sherman and
                                                                    comments on Judge Zive's telephone call with
                                                                    Mr. Sherman.
12/08/17        J.A. Moe, II                        0.10      59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Second telephone call from Gary Klausner on
                                                                    Settlement Agreement with the Weiner Parties.
12/08/17        J.A. Moe, II                        0.20    119.00 [Moscovitz] Commence review and preparation
                                                                   for transmittal of documents to Andrew
                                                                   Sherman, on the background to and facts
                                                                   concerning the potential Moscovitz Claim.
12/08/17       S. Walker                            0.70    455.00 Teleconference, J. Moe, S. Maizel, D.
                                                                   Friedman, G. Klausner, D. Ogloza and T. Davis
                                                                   regarding concept of assignment of bad faith
                                                                   claim.
12/08/17       S. Walker                            1.10    715.00 Teleconference, S. Maizel and J. Moe
                                                                   regarding issues related to assignment of share
                                                                   in recovery of bad faith suit.
12/08/17       J.A. Moe, II                         0.70    416.50 [Creditors Committee
                                                                   Investigation/Mediation/Sycamore & Roxbury]
                                                                   Conference telephone call with David Friedman
                                                                   and Darius Ogloza, Thad Davis, Susan Walker,
                                                                   Gary Klausner and David Herskovitz on
                                                                   background and proceeding with settlement.
12/08/17       J.A. Moe, II                         0.30    178.50 [Creditors Committee
                                                                   Investigation/Mediation/Sycamore & Roxbury]
                                                                   Telephone call with Gary Klausner reviewing
                                                                   assertions and proceeding with settlement.




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12/08/17        J.A. Moe, II                         0.10     59,50 [RSUI/Qui Tam Cases] Preliminarily review
                                                                    letter from David Tartaglio on decision of RSUI
                                                                    that RSUI is not providing insurance coverage.
12/08/17        J.A. Moe, II                         0,10     59.50 [Qui Tam Cases and South Bay] Telephone call
                                                                    with Andrew Sherman on issue of Qui Tam and
                                                                    South Bay Litigation.
12/08/17        J.A. Moe, II                         0.30    178.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Prepare first rough draft of the Settlement
                                                                    Agreement with the Weiner Parties.
12/08/17        J.A. Moe, II                         0.30    178.50 [Accountable Health] Confer briefly with Andrew
                                                                    Sherman, and review Mr. Sherman's E-Mail to
                                                                    Bienert Miller, on appearance in the Litigation;
                                                                    review in some detail the status of the Case
                                                                    and the upcoming hearings; exchange multiple
                                                                    E-Mails with the Bienert Law Firm on conferring
                                                                    on December 8th.
12/08/17        J.A. Moe, II                        1.10     654.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Conference telephone call with Insurance
                                                                    Counsel Susan Walker on background to and
                                                                    terms of a Settlement Agreement with the
                                                                    Weiner Parties.
12/08/17        J.A. Moe, II                        0.20     119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Consideration on background to and terms of a
                                                                    Settlement Agreement with the Weiner Parties.
12/08/17        J.A. Moe, II                        0.20     119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Correct and expand first rough draft of the
                                                                    Settlement Agreement with the Weiner parties.
12/08/17        J.A. Moe, II                        0.20    119.00 [Accountable Health] Review and correct,
                                                                   through two iterations, the Status Report for the
                                                                   hearings on December 14th and December
                                                                   18th; transmit Report to Steven Katzman.
12/08/17       J.A. Moe, II                         0.10      59.50 [Qui Tam Cases] Telephone call to Kathryn
                                                                    Stanton on the letter from RSUI now denying
                                                                    coverage, the status of the Qui Tam Cases
                                                                    now, Selwin & Wiener's representation of the
                                                                    Debtor in the Qui Tam Cases, and scheduling
                                                                    conference call with Andrew Sherman on the
                                                                    Cases.




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12/08/17        J.A. Moe, II                         0.10     59.50 [Qui Tam Cases] Exchange E-Mails with
                                                                    Andrew Sherman on Selvin & Weiner's
                                                                    representation of the Debtor in the Qui Tam
                                                                    Cases, and scheduling conference call on the
                                                                    Cases.
12/08/17        J.A. Moe, II                         0.10     59.50 [Accountable Health] Continued telephone call
                                                                    with Kathryn Stanton on the Accountable
                                                                    Complaint and scheduling call with Steven Katz
                                                                    man.
12/08/17        J.A. Moe, II                         0.30    178.50 EXPUNGE/DUPLICATE TIME ENTRY
                                                                    [Accountable Health] Conference telephone
                                                                    call with Andrew Sherman, Kathryn Stanton and
                                                                    Steve Katzman on background to and status of
                                                                    the Superior Court Case.
12/08/17        J.A. Moe, II                         0.40    238.00 [Accountable Health] Telephone conference
                                                                    with Andrew Sherman, Steve Katzman and
                                                                    Kathryn Stanton, on the background to and
                                                                    current status of the Accountable Litigation.
12/08/17        J.A. Moe, II                         0.10     59.50 [Accountable Health] In response to Steven
                                                                    Katzman's request, review and transmit the
                                                                    operative Pleadings to Mr. Katzman and Anne
                                                                    Uyeda, transmitting three Status Reports
12/08/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Correct and further expand second draft of the
                                                                    Settlement Agreement with the Weiner parties,
                                                                    including review of Sam Maizel's suggested
                                                                    additions inserted into the Agreement.
12/08/17        S. Maize!                            1.20    780.00 Telephone conference with G. Klausner, etc...
                                                                    re bad faith insurance litigation.
12/08/17        S. Maizel                            0.50    325.00 Telephone conference with S. Walker re bad
                                                                    faith litigation.
12/08/17        S. Maizel                            0.50    325.00 Telephone conference with B. Walton re Weiner
                                                                    settlement.
12/08/17        K.M. Howard                          0.20     53.00 Gathered and assembled Judge Zive's
                                                                    Settlement Conference Order and prepared
                                                                    communication regarding same.
12/08/17        S. Walker                           0.40     260.00 Analyze issues regarding assignment of interest
                                                                    in bad faith action.




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12/08/17        A. Jinnah                            0.60    237.00 Review status of Accountable matter for 12/18
                                                                    Conference.
12/08/17        A. Jinnah                            0.70    276.50 Draft status conference statement for 12/18
                                                                    Status.
12/11/17        J.A. Moe, II                         0.90    535.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Correct through three iterations the draft of the
                                                                    Settlement Agreement with the Weiner parties,
                                                                    and transmit to Sam Maizel for his review.
12/11/17        K.M. Howard                          0.20     53.00 Analysis of Order Granting Joint Motion to
                                                                    Approve Settlement Agreements (.1) and
                                                                    prepared communication regarding same (.1).
12/11/17        K.M. Howard                          0.10     26.50 Analysis of Court's notice regarding the
                                                                    availability of the December 6, 2017 hearing
                                                                    transcript.
12/11/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee's
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Exchange multiple E-Mails with Michaele Sozio,
                                                                    Tom Lallas and Andrew Sherman on
                                                                    signatures on Agreement, obtaining signatures.
12/11/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee's
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call from Gary Klausner on status of
                                                                    the Settlement Agreement.
12/11/17        J.A. Moe, II                        1.60     952.00 [Creditors Committee's
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Correct and expand the latest version of the
                                                                    Settlement Agreement, and await further review
                                                                    to complete Agreement.
12/11/17        J.A. Moe, II                        0.20    119.00 [Moscovitz] Review E-Mails from David
                                                                   Herskovitz, Reva Swadener and Brian Walton,
                                                                   and review Minutes (for delivery to the Creditors
                                                                   Committee); E-Mail to Mr. Herskovitz on
                                                                   Minutes.
12/11/17        J.A. Moe, II                        0.20    119.00 [Creditors Committee
                                                                   investigation/Mediation/Directors & Officers]
                                                                   Review entered Order on Settlement
                                                                   Agreement and transmit to multiple Counsel;
                                                                   transmit Order to Steve Katzman.




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Date            Timekeeper                         Hours    Amount Narrative
12/11/17        J.A. Moe, II                         0.10     59.50 [Moscovitz] Telephone call with David
                                                                    Herskovitz on authority to transmit documents
                                                                    to Andrew Sherman.
12/11/17        J.A. Moe, II                         0.30    178.50 [Moscovitz] Review and order documents for
                                                                    delivery to Andrew Sherman on the Moscovitz
                                                                    Claim, and over three reviews, note two
                                                                    additional packagers to be prepared, obtaining
                                                                    packages for inclusion in documents to be
                                                                    transmitted to Mr. Sherman.
12/11/17        J.A. Moe, II                         0.40    238.00 [Accountable Health] Exchange multiple E-
                                                                    Mails with Toni Bisconti on revised Report for
                                                                    the Court, and on obtaining signature; confer
                                                                    with Andy Jinnah on revising the Report;
                                                                    transmit the revised Report to Mr. Bisconti to
                                                                    sign and return; obtain revised Report and
                                                                    transmit to Mr. Jinnah for completion and filing;
                                                                    review the completed Report, Attachment and
                                                                    Service List.
12/11/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review Sam Maizel's meeting with Andrew
                                                                    Sherman and Boris Mankovetskiy, and John
                                                                    Moe's conference call with Gary Klausner.
12/11/17        J.A. Moe, II                        0.10      59.50 [Qui Tam Cases] Telephone call returned to
                                                                    Kathryn Stanton on setting time and date for
                                                                    call on Qui Tam Cases with the Committee
                                                                    Counsel in response to Committee Counsel's
                                                                    request.
12/11/17        J.A. Moe, II                        0,10      59.50 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Exchange E-Mails with Pratet Ono and E-Mail
                                                                    from Gary Torrell, on completing Settlement
                                                                    Agreement; review multiple signatures already
                                                                    received.
12/11/17        J.A. Moe, II                        0.30    178.50 [Moscovitz] Continue to review and assemble
                                                                   documents for Andrew Sherman, including one
                                                                   set of documents missing on December 8th.
12/11/17        J.A. Moe, II                        0.20    119.00 [Moscovitz] Letter to Andrew Sherman
                                                                   transmitting documents on the Moscovitz Claim.
12/11/17        K.M. Howard                         0.40    106.00 Gathered and assembled pleadings and
                                                                   documents to assist attorney in drafting the
                                                                   Weiner Parties Settlement Agreement.




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12/11/17        A. Jinnah                            0.70    276.50 Revised Accountable Case Status Report per
                                                                    discussion with court's clerk.
12/11/17        S. Maize!                            0.70    455.00 Office conference with A. Sherman re Weiner
                                                                    settlement (.5); telephone conference with J.
                                                                    Moe re same (.2).
12/12/17        A. Jinnah                            0.40    158.00 Multiple conferences with court clerk in
                                                                    Accountable matter regarding our filing of
                                                                    Status Report and statement regarding
                                                                    dismissal of Anthem
12/12/17        A. Jinnah                            0.90    355.50 Review status of Fisher and Phillips case and
                                                                    draft Status Report to the court regarding the
                                                                    same case.
12/12/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore and Roxbury]
                                                                    Additional consideration on background to and
                                                                    dispute on claims asserted against Insurance
                                                                    Carriers.
12/12/17        J.A. Moe, II                         0.10     59.50 [Qui Tam Cases] Consider implications relating
                                                                    to potential claims against RSUI.
12/12/17        J.A. Moe, II                         0.20    119.00 [Accountable Health/Anthem Blue Cross]
                                                                    Review facts on whether Anthem Blue Cross
                                                                    remains a Defendant, and review Court Order
                                                                    and multiple page Tentative Ruling.
12/12/17        J.A. Moe, II                        0.20     119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore and Roxbury]
                                                                    Telephone call returned on proposed settlement
                                                                    agreement with the Weiner Parties.
12/12/17        J.A. Moe, II                        0.40     238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore and Roxbury]
                                                                    Prepare detailed E-Mail Memorandum on
                                                                    background to, terms of and required review of
                                                                    the proposed Settlement Agreement.
12/12/17        J.A. Moe, II                        0.40    238.00 [Qui Tam Cases] Telephone call returned from
                                                                   Tracy Green on letter from David Tartaglio on
                                                                   RSUI no longer providing a defense on the Qui
                                                                   Tam Cases, setting a conference call with the
                                                                   Committee on the Qui Tam Cases, and E-Mail
                                                                   to David Herskovitz transmitting Mr. Tartaglio's
                                                                   letter for review; exchange E-Mails with Andrew
                                                                   Sherman on conferring with counsel on the Qui
                                                                   Tam Cases.




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12/12/17        J.A. Moe, II                         0.20    119.00 [Qui Tam Cases] Preliminarily review the letter
                                                                    from David Tartaglio on decision of RSUI not to
                                                                    provide insurance coverage on the Qui Tam
                                                                    Cases.
12/12/17        J.A. Moe, II                         0,20    119.00 [Fisher & Phillips] Review status of and the
                                                                    necessity to prepare a Report to the Court on
                                                                    the status of the Bankruptcy Case; review the
                                                                    initial rough draft of the Report and additional
                                                                    information required for the Report.
12/12/17        J.A. Moe, II                         0.20    119.00 [Accountable] Health Review status of
                                                                    purported hearing on December 14th and
                                                                    calendared hearing on December 18th, also
                                                                    reviewing Clerk's request for information on
                                                                    Anthem Blue Cross and preparing a second
                                                                    Report to the Court, the necessity to confer with
                                                                    Kathryn Stanton and confer with Mr. Bisconti.
12/13/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Exchange E-Mails on and review status of
                                                                    issues related to representation in regard to
                                                                    Settlement Agreement with the Weiner Parties.
12/13/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call on and review status of issues
                                                                    related to representation in regard to Settlement
                                                                    Agreement with the Weiner Parties.
12/13/17        J.A. Moe, II                        0.60     357.00 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Review execution of the Settlement
                                                                    Agreement,and E-Mails to counsel on obtaining
                                                                    signatures to the Agreement telephone call
                                                                    from Andrew Sherman authorizing us use of
                                                                    prior signatures sent to Dentons on the prior
                                                                    version of the Agreement.; review signature of
                                                                    the Committee and E-Mail to Mr. Sherman
                                                                    Agreement and Stipulation for Mr. Sherman's
                                                                    signatures; exchange E-Mails with Michaele
                                                                    Sozio on signatures.
12/13/17        J.A, Moe, II                        0.20    119.00 [Accountable Health] Review Clerk's request
                                                                   for second Status Report (as to Anthem Blue
                                                                   Cross), and review proposed Report; review
                                                                   exchange of E-Mails with Toni Bisconti on the
                                                                   hearing on December 18th.




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12/13/17        J.A. Moe, II                         0.10      59.50 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Telephone call with Susan Walker on
                                                                     representations to be included in the Settlement
                                                                     Agreement.
12/13/17        J.A. Moe, II                         0.20     119.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Additional consideration of rights and
                                                                     obligations affecting Settlement Agreement with
                                                                     the Wiener parties.
12/13/17        J.A. Moe, II                         0.10      59.50 [Fisher & Phillips] Review Report filed by Fisher
                                                                     & Philips in the Superior Court, as to the
                                                                     Bankruptcy Court.
12/13/17        J.A. Moe, II                         0,20     119.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Preliminarily review the Motion on transfer of
                                                                     standing on claims to the Creditors Committee
                                                                     on Claims to be asserted against the Weiner
                                                                     Parities; consider the Motion and Response;
                                                                     review Gary Klausner's E-Mail and telephone
                                                                     call to Mr. Klausner.
12/13/17        J.A. Moe, II                        0.20      119.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Telephone call returned form Gary Klausner on
                                                                     status of proffering a Settlement Agreement to
                                                                     Mr. Klausner, and issues to be resolved before
                                                                     proceeding.
12/13/17        K.M. Howard                         0.20       53.00 Initial analysis of Motion for Leave, Standing to
                                                                     Prosecute Claims and Causes of Action against
                                                                     Weiner entities and culled deadline information
                                                                     for inclusion into Critical Dates Memorandum.
12/13/17        A. Jinnah                           0.10       39.50 Call with K. Stanton regarding status of Anthem
                                                                     blue cross in Accountable matter.
12/13/17       A. Jinnah                            0.50     197.50 Review Report Status in Fisher v. Phillips
                                                                    matter.
12/13/17        S. Maizel                           0.10       65.00 Office conference with J. Moe re Weiner
                                                                     settlement.
12/14/17       A. Jinnah                            0.80     316.00 Prepare for Status hearing in Fisher v. Phillips
                                                                    case.
12/14/17       A. Jinnah                            3.00    1,185.00 Attend to administrative matters.




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12/14/17        K.M. Howard                          0.20     53.00 Received and briefly reviewed transcript of
                                                                    December 6, 2017 hearing and disbursed
                                                                    same.
12/14/17        S. Walker                            0.10     65.00 Teleconference, J. Moe regarding settlement
                                                                    agreement.
12/14/17        A. Goodman                           0.10     25.00 Drafted correspondence to client regarding
                                                                    document production in response to grand jury
                                                                    subpoena duces tecum; conferred with G.
                                                                    Newhouse about same.
12/14/17        K.M. Howard                          0.20     53.00 Analysis of Errata regarding Exhibit C to the
                                                                    Declaration of Andrew Sherman in support of
                                                                    Motion for Leave to Prosecute and culled same.
12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Continue to review steps to be taken and
                                                                    information to be reviewed prior to proceeding
                                                                    with Settlement Agreement with the Weiner
                                                                    Parties.
12/14/17        K.M. Howard                          0.10     26.50 Analysis of hearing notice regarding Creditors
                                                                    Committee's Motion for Leave and Authority to
                                                                    Prosecute Claims and Causes of Action.
12/14/17        K.M. Howard                          0.10     26.50 Analysis of Creditors Committee's Motion for
                                                                    Leave to Prosecute Claim and Causes of Action
                                                                    and culled information regarding responsive
                                                                    deadlines.
12/14/17        K.M. Howard                          0.20     53.00 Telephone conference with Briggs Reporting
                                                                    Service regarding the transcript of the hearing
                                                                    on the continued settlement conference.
12/14/17        K.M. Howard                          0.10     26.50 Prepared communication to Briggs Reporting
                                                                    Service regarding the transcript of the hearing
                                                                    on the continued settlement conference.
12/14/17        J.A. Moe, II                        0.80     476.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Prepare first rough draft of opposition to the
                                                                    Creditors Committed Motion seeking standing
                                                                    to prosecute claims against the Weiner parties.
12/14/17        K.M. Howard                         0.60     159.00 Reviewed documents and assembled relevant
                                                                    materials to assist attorney in drafting
                                                                    opposition to Creditor Committee's Motion to
                                                                    Prosecute.




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12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call from Gary Klausner on status of
                                                                    proceeding with a settlement agreement, and
                                                                    necessity to present evidence to the
                                                                    Committee.
12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Exchange E-Mails with Brian Walton on the
                                                                    Creditors' Committee's Motion on standing and
                                                                    the Committee's theories on proceeding against
                                                                    the Weiner Parties; exchange E-Mails with Eric
                                                                    Weissman on the Committee's Motion; transmit
                                                                    Motion to Mr. Walton, Mr. Weissman and David
                                                                    Herskovitz.
12/14/17        J.A. Moe, II                         0.60    357.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Prepare revised draft of the Debtor's Response
                                                                    to the Creditors Committee Motion seeking
                                                                    standing to prosecute claims against the
                                                                    Weiner parties.
12/14/17        K.M. Howard                          0.90    238.50 Reviewed list of twenty largest, Schedule F,
                                                                    Schedule D and the Proof of Claim filed by
                                                                    Cerner Corporation and culled key information
                                                                    to respond to concerns raised by Andrew
                                                                    Sherman regarding the settlements, and to
                                                                    determine reasons to dispute claims.
12/14/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review proposed conference call with Judge
                                                                    Zive at 3:00 p.m. on December 15th, reviewing
                                                                    the exchange of E-Mails on the conference call,
                                                                    and preparing an E-Mail to all recipients on the
                                                                    proposed call and impediments to proceeding.
12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review and consider issues relating to whether
                                                                    it is possible to proceed with a Settlement
                                                                    Agreement.




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12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call to Gary Klausner's office; review
                                                                    Mr. Klausner's E-Mail and telephone call to
                                                                    Gary Klausner and Thad Davis, on issues
                                                                    resolved permitting Dentons to proceed with
                                                                    preparation of a Settlement Agreement.
12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Second telephone call to Gary Klausner and
                                                                    Thad Davis, on issues to be considered, in
                                                                    regard to proceeding with preparation of the
                                                                    Settlement Agreement and the Motion in
                                                                    support of the Settlement Agreement.
12/14/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call to Susan Walker requesting her
                                                                    comments to the "reps and warranties" in the
                                                                    proposed Settlement Agreement.
12/14/17        S. Maize!                            0.50    325.00 Review and revise settlement agreement with
                                                                    Weiner entities.
12/15/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Exchange E-Mails with Michaele Sozio on
                                                                    completing the Settlement Agreement and
                                                                    delivery of funds; E-Mail to Andrew Sherman
                                                                    on expected delivery of funds.
12/15/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call with Andrew Sherman on
                                                                    discovery of documents related to the
                                                                    Settlement Agreement.
12/15/17        J.A. Moe, II                        0.20    119.00 [Creditors Committee
                                                                   Investigation/Mediation/Sycamore & Roxbury]
                                                                   Telephone call with Susan Walker on
                                                                   proceeding with drafting the Settlement
                                                                   Agreement and required input on
                                                                   representations that should be made by the
                                                                   Weiner Parties, as to what they have done to
                                                                   preserve their rights.




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12/15/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee
                                                                        Ingestion/Mediation/Sycamore & Roxbury]
                                                                        Assemble and review current version of the
                                                                        Settlement Agreement, and E-Mail to Susan
                                                                        Walker on drafting provisions on
                                                                        representations by the Weiner Parties.
12/15/17        J.A. Moe, II                         0.70        416.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Revise and correct the second draft of the
                                                                        Debtor's Response to the Creditors
                                                                        Committee's Motion seeking standing to
                                                                        prosecute claims against the Wiener Parties.
12/15/17        J.A. Moe, II                         0.60        357.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Correct the third draft of the Debtor's Response
                                                                        to the Creditors Committee's Motion seeking
                                                                        standing to prosecute claims against the
                                                                        Wiener Parties, including clarifying the
                                                                        requested relief in the alternative.
12/15/17        J.A. Moe, II                         0.30        178.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Review Susan Walker's proposed changes to
                                                                        the Settlement Agreement, then telephone call
                                                                        with Susan Walker on her proposed changes to
                                                                        the Agreement.
12/15/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Correct and complete the Settlement
                                                                        Agreement.
12/15/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Telephone call with Thad Davis on the draft of
                                                                        the Settlement Agreement.
12/15/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Telephone call with Gary Klausner on the draft
                                                                        of the Settlement Agreement.
12/15/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Review and transmit the Settlement Agreement
                                                                        to Thad Davis and Gary Klausner; review Gary
                                                                        Klausner's initial response.




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12/15/17        J.A. Moe, II                         0.20    119.00 [Accountable Health] Review status of the
                                                                    Accountable Health hearing on Monday, with
                                                                    entry of Order by Judge on December 15th,
                                                                    rescheduling hearings in 2018; E-Mail to Steve
                                                                    Katzman on Judge rescheduling hearing in
                                                                    response to two Status Reports.
12/15/17        S. Walker                            0.20    130.00 Teleconference, J. Moe regarding settlement
                                                                    agreement.
12/15/17        S. Walker                            1.30    845.00 Analyze and revise settlement agreement
                                                                    regarding warranties regarding insurance
                                                                    claims.
12/15/17        A. Jinnah                            0.90    355.50 Attend Status conference in Fisher v. Phillips as
                                                                    bankruptcy counsel for Gardens matter and get
                                                                    continuance of case until March 16, 2018.
12/16/17        S. Maizel                            0.10     65.00 Review and respond to emails re Weiner
                                                                    settlement.
12/17/17        S. Maizel                            1.50    975.00 Telephone conference with B. Walton, D.
                                                                    Herskovitz, etc... re settlement with Weiner
                                                                    entities.
12/17/17        J.A. Moe, II                         1.40    833.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Noon conference call with Sam Maizel, Brian
                                                                    Walton and David Herskovitz on the terms of
                                                                    the Settlement Agreement, Transcript from the
                                                                    Settlement Conference, responding to the
                                                                    Creditors Committee's Motion on standing and
                                                                    expected discovery on the Settlement
                                                                    Agreement.
12/18/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Review check for $625,000; E-Mail to Andrew
                                                                    Sherman on receipt of funds; confer with Stan
                                                                    Otake on delivery of check to Mr. Otake.
12/18/17        J.A. Moe, II                        0.20     119.00 Creditors Committee Investigation/
                                                                    Mediation/Sycamore & Roxbury] Review
                                                                    Andrew Sherman's E-Mail requesting
                                                                    discovery; consider request and responses, and
                                                                    issues relating to confidentiality and privileges.




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12/18/17        J.A. Moe, II                         0.20    119.00 Creditors Committee Investigation/
                                                                    Mediation/Sycamore & Roxbury] Preliminarily
                                                                    review the proposed revised Settlement
                                                                    Agreement received, with first considerations
                                                                    on the Weiner Parties' additions and
                                                                    subtractions.
12/18/17        J.A. Moe, II                         0.20    119.00 Creditors Committee Investigation/
                                                                    Mediation/Sycamore & Roxbury] In regard to
                                                                    the proposed revised Settlement Agreement ,
                                                                    E-Mail to and review responses from Brian
                                                                    Walton and David Herskovitz on issues related
                                                                    to the Agreement.
12/18/17        J.A. Moe, II                         0.10     59.50 Creditors Committee Investigation/
                                                                    Mediation/Sycamore & Roxbury] In regard to
                                                                    the proposed revised Settlement Agreement ,
                                                                    telephone call to and exchange E-Mails with
                                                                    Gary Klausner on issues related to the
                                                                    Agreement.
12/18/17        J.A. Moe, II                         0.30    178.50 Creditors Committee Investigation/
                                                                    Mediation/Sycamore & Roxbury] Continue to
                                                                    consider issues related to the the proposed
                                                                    revised Settlement Agreement .
12/18/17        J.A. Moe, II                         0.70    416.50 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Continue to complete the Settlement
                                                                    Agreement, reviewing E-Mails from Michaele
                                                                    Sozio, Andrew Sherman and Steve Katzman.
12/18/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Exchange E-Mails with Gary Klausner on
                                                                    preparing the Settlement Agreement.
12/18/17        J.A. Moe, II                        0.60     357.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Extensively revise the Debtor's Response to the
                                                                    Creditors Committees Motion seeking to be
                                                                    give standing to prosecute claims against the
                                                                    Weiner Parties.
12/18/17        K.M. Howard                         1.10     291.50 Reviewed debtor's opposition to Creditors
                                                                    Committee's Motion for Leave to Prosecute
                                                                    Weiner parties, cross-referenced cited
                                                                    documents to the docket, revised same and
                                                                    located additional documents to cite as
                                                                    evidence.



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12/18/17        J.A. Moe, II                         0.60        357.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Review and correct the latest draft of the
                                                                        Debtor's Response to the Creditors Committees
                                                                        Motion seeking standing to prosecute claims
                                                                        against the Weiner Parties.

12/18/17        J.A. Moe, II                         0.30        178.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Review and complete (and confirm) accuracy of
                                                                        multiple references to the Docket in the
                                                                        Debtor's Response to the Creditors Committees
                                                                        Motion seeking standing to prosecute claims
                                                                        against the Weiner Parties.
12/18/17        J.A. Moe, II                         0.40        238.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Review and make additional sets of corrections
                                                                        (through three iterations) of the Debtor's
                                                                        Response to the Creditors Committees Motion
                                                                        seeking standing to prosecute claims against
                                                                        the Weiner Parties.
12/18/17        J.A. Moe, II                         0.50        297.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Telephone call from and exchange E-Mails with
                                                                        Gary Klausner; conference call with Mr.
                                                                        Klausner on the Weiner Parties' continuing
                                                                        review and expected return of a revised
                                                                        Settlement Agreement, the necessity to provide
                                                                        discovery to the Committee and the importance
                                                                        of filing documents under seal.
12/18/17        A. Goodman                           0.90        225.00 Analyzed initial production of documents for
                                                                        responsiveness to subpoena; strategized with
                                                                        G. Newhouse about response to subpoena;
                                                                        drafted email to client regarding additional items
                                                                        to produce in response to subpoena;
                                                                        coordinated initial document production.
12/18/17        S. Walker                            0,40        260.00 Create redline and analyze changes in
                                                                        settlement agreement and respond to email
                                                                        from J. Moe.
12/18/17        S. Maizel                            0.10         65.00 Telephone conference with e. Weissman re
                                                                        Weiner settlement issues.
12/18/17        S. Maizel                            0.50        325.00 Review and comment on drafts of Weiner
                                                                        settlement agreement.




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12/18/17        G. Newhouse                          0.90        585.00 Review email correspondence with respect to
                                                                        first tranche of documents to be produced to
                                                                        grand jury and office conference with A.
                                                                        Goodman regarding same.

12/18/17        K.M. Howard                          0.20         53.00 Reviewed and culled Joint Motion to Approve
                                                                        Terms and Conditions of Settlement Agreement
                                                                        reached with the Board of Directors.

12/19/17        S. Maizel                            0.70        455.00 Telephone conference with A. Sherman re
                                                                        discovery on standing motion (.1); office
                                                                        conference with John Moe re same (.1);
                                                                        telephone conference with B. Walton re same
                                                                        (.5).
12/19/17        S. Maize!                            0.10         65.00 Telephone conference with Karl Block re
                                                                        Harbor Gardens settlement; email re same.
12/19/17        S. Maize!                            0.20        130.00 Review and respond to emails re Committee
                                                                        discovery requests.
12/19/17        S. Maize!                            0.10         65.00 Review and respond to emails re Committee
                                                                        standing motion.
12/19/17        S. Walker                            0.40        260.00 Teleconference, J. Moe regarding revisions to
                                                                        settlement agreement.
12/19/17        J.A. Moe, II                         0.40        238.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Telephone call with Susan Walker on
                                                                        representations and warranties on the
                                                                        Settlement Agreement.
12/19/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Exchange E-Mails with Gary Klausner m
                                                                        responding to his questions on Dentons
                                                                        preparing the Response to the Creditors
                                                                        Committee Motion on Standing.
12/19/17        J.A. Moe, II                         0.30        178.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        In accordance with Gary Klausner's
                                                                        suggestions; Make four corrections to the
                                                                        Response to the Creditors Committee Motion
                                                                        on Standing, and prepare Declaration Of John
                                                                        A, Moe, II.




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12/19/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Directors & Officers]
                                                                    Exchange E-Mails with Michaela Sozio on
                                                                    completion of the Settlement Agreement.
12/19/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Continue to review possible revisions to the
                                                                    Settlement Agreement.
12/19/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Continue to work on responding to the
                                                                    discovery requested by the Creditors
                                                                    Committee.
12/19/17        J.A. Moe, II                         0.80    476.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review and annotate changes to the
                                                                    Settlement Agreement.
12/19/17        K.M. Howard                          0.40    106.00 Further analysis of document requests from
                                                                    Creditors Committee to determine the scope of
                                                                    response and document collection.
12/19/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review -- request by request -- how to respond
                                                                    to the Creditors' Committee's document
                                                                    request.
12/19/17        J.A. Moe, II                         1.40    833.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Extended conference call with Gary Klausner
                                                                    reviewing proposed changes and issues with
                                                                    Mr. Klausner's extensive revisions to the draft
                                                                    of the Settlement Agreement.
12/19/17        T. Ryan                              0.40    136.00 E-mails with A. Goodman re documents for
                                                                    production; prepare documents for production
                                                                    re Grand Jury subpoena.
12/19/17        K.M. Howard                          0.30     79.50 Analysis of voluminous email chain regarding
                                                                    the document requests from the creditors
                                                                    committee and Blue Cross Blue Shield.
12/19/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Preliminarily review the redline version of the
                                                                    Settlement Agreement with the Weiner Parties.




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12/19/17        J.A. Moe, II                         0.30        178.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Three iterations of minor corrections to the last
                                                                        draft of the Debtor's Response to the Creditors
                                                                        Committee's Motion on standing to pursue
                                                                        Claims against the Weiner Parties.
12/19/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Commence work on responding to the
                                                                        discovery requested by the Creditors
                                                                        Committee.
12/19/17        K.M. Howard                          0.70        185.50 Initial analysis of Creditors Committee's
                                                                        document request and determined process to
                                                                        assemble ESI production and metadata.
12/19/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Continued telephone call with Gary Klausner on
                                                                        necessity to review in detail the revised
                                                                        Settlement Agreement.
12/20/17        S. Maize!                            0.60        390.00 Telephone conference with Brian Walton re
                                                                        Committee Standing Motion (.5); Telephone
                                                                        conference with J. Moe re same (.1).
12/20/17        S. Maizel                            0.20        130.00 Telephone conference with Karl Block re
                                                                        Harbor Gardens settlement (.1);review and
                                                                        respond to emails re same (.1).
12/20/17        K.M. Howard                          0.40        106.00 Prepared draft of search perimeters for ESI
                                                                        collection of Sam Maizel's and John Moe's
                                                                        emails responsive to document request from
                                                                        the Creditors Committee.
12/20/17        K.M. Howard                          0.60        159.00 Meeting with head of Los Angeles IT
                                                                        Department to discuss the firm's protocol of ESI
                                                                        collection of emails in document productions.
12/20/17        K.M. Howard                          0.40        106.00 Assembled various pleadings to assist attorney
                                                                        in drafting Debtor's response to Committee's
                                                                        Motion for Standing.
12/20/17        J.A. Moe, II                         0.30        178.50 [Creditors Committee
                                                                        Investigation/Mediation/Harbor Gardens]
                                                                        Exchange E-Mails with Karl Block on issue that
                                                                        have arisen; telephone calls with Mr. Block on
                                                                        issue of payment on the Harbor Gardens Claim




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12/20/17        J.A. Moe, II                         0.10      59.50 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Review Common Interest Privilege Agreement.
12/20/17        J.A. Moe, II                         0.90    535.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Extended telephone conference with Brain
                                                                    Walton and David Herskovitz, on: Discovery
                                                                    requested by Andrew Sherman; responding to
                                                                    the Motion on standing; and completing a
                                                                    formal Settlement Agreement with the Weiner
                                                                    Parties.
12/20/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Review and complete the Debtor's Response to
                                                                    the Creditors Committee's Motion seeking
                                                                    standing to prosecute the Claims against the
                                                                    Weiner Parties.
12/20/17        J.A. Moe, II                         2.20   1,309.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Continue to review and revise Gary Klausner's
                                                                     draft of the Settlement Agreement.
12/20/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee Investigation/Sycamore &
                                                                    Roxbury] Telephone call with Gary Klausner on
                                                                    his discussion with David Herskovitz on the
                                                                    Settlement Agreement.
12/20/17        J.A. Moe, II                         0.60    357.00 [Creditors Committee Investigation/Sycamore &
                                                                    Roxbury] E-Mail to David Herskovitz on call with
                                                                    Mr. Klausner, confer with Sam Maizel on terms
                                                                    for the Agreement, and telephone call to Mr.
                                                                    Herskovitz on Mr. Herskovitz' statements to
                                                                    Gary Torrell and how to proceed.
12/20/17        T. Ryan                              0.60    204.00 Review and verify documents and index for
                                                                    production.
12/20/17        A. Goodman                          1.10     275.00 Analyzed additional documents received from
                                                                    client for inclusion in initial production of
                                                                    documents; drafted letter to government
                                                                    enclosing initial document production.
12/21/17        A. Goodman                          0.10      25.00 Drafted email correspondence to client about
                                                                    scheduling a conference call to discuss
                                                                    continued document production in response to
                                                                    grand jury subpoena duces tecum; conferred
                                                                    with G. Newhouse about same.




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Date            Timekeeper                         Hours    Amount Narrative

12/21/17        G. Newhouse                          0.30    195.00 Edit letter to Special Agent Herber with respect
                                                                    to production of documents pursuant to grand
                                                                    jury subpoena and transmit to government.
12/21/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee Investigation/Sycamore &
                                                                    Roxbury] E-Mail to David Herskovitz and Brian
                                                                    Walton on Mr. Herskovitz' statements to Gary
                                                                    Klausner on terms of the Settlement
                                                                    Agreement.
12/21/17        J.A. Moe, II                         1.10    654.50 [Creditors Committee Investigation/Sycamore &
                                                                    Roxbury] Review and revise extensively --
                                                                    through multiple iterations -- the letter to
                                                                    Andrew Sherman on responding to his
                                                                    discovery requests.
12/21/17        J.A. Moe, II                         0,90    535.50 [Creditors Committee
                                                                    Investigation/Mediation/Harbor Gardens]
                                                                    Multiple telephone calls with Karl Block, first on
                                                                    concept of, then the contents of, then revising
                                                                    and completing letter, on payment to Harbor
                                                                    Gardens of only the principal amount due.
12/21/17        K.M. Howard                          0.20     53.00 Prepared communication to Ryan Aldrich
                                                                    regarding the ESI collection of documents to
                                                                    produce to the creditors committee and
                                                                    prepared queries regarding same.
12/21/17        K.M. Howard                          0.20     53.00 Received and reviewed numerous IT responses
                                                                    regarding the ESI culling of documents to
                                                                    produce to the creditors committee (.1) and
                                                                    prepared responses thereto (.1).
12/21/17        A. Jinnah                            0.70    276.50 Review De Lage Landen case and speak with
                                                                    court clerk for Judge Margaret Bernal regarding
                                                                    court's previous meet and confer ruling.
12/22/17        S. Maizel                            1.00    650.00 Telephone conference with B. Walton and D.
                                                                    Herskovitz re Weiner parties settlement.
12/22/17        K.M. Howard                          0.20     53.00 Reviewed communication from Ed Reich
                                                                    regarding the document request from Counsel
                                                                    for Creditors Committee (.1) and prepared reply
                                                                    thereto (.1).
12/22/17        K.M. Howard                          0.10     26.50 Prepared followup communication to Ed Reich
                                                                    regarding the document request from the
                                                                    creditors committee.




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Litigation - Contested Matters and Adversary Proceedings
                                                                                                        January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date            Timekeeper                         Hours        Amount Narrative
12/22/17        A. Goodman                           0.10         25.00 Drafted additional email correspondences to
                                                                        client about scheduling a conference call to
                                                                        discuss continued document production in
                                                                        response to grand jury subpoena duces tecum.

12/22/17        J.A. Moe, II                         1,00        595.00 [Creditors committee
                                                                        Investigation/Mediation/Sycamore and Roxbury]
                                                                        Prepare for and conference telephone call with
                                                                        Brian Walton and David Herskovitz, with Sam
                                                                        Maizel, on: analyzing the insurance claims; Mr.
                                                                        Harskovitz' telephone call with Gary Klausner
                                                                        on terms in the agreement; revising the
                                                                        Settlement Agreement; and responding to the
                                                                        Creditors Committee's discovery related to the
                                                                        settlement agreement with the Weiner Parties.
12/26/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Telephone call from Gary Klausner on status of
                                                                        completing a revised draft of the Settlement
                                                                        Agreement.
12/26/17        J.A. Moe, II                         0.20        119.00 [DeLage Landen/Intuitive] Review preparations
                                                                        for the Status Conference and working with
                                                                        opposing counsel to reschedule the hearing;
                                                                        review E-Mails to two opposing counsel on
                                                                        postponing the hearing; review late received E-
                                                                        Mail from Intuitive's counsel approving the
                                                                        continuance.
12/26/17        A. Jinnah                            0.40        158.00 Multiple conferences with counsel for De Lage
                                                                        Landen regarding court ordered meet and
                                                                        confer.
12/26/17        A. Jinnah                            0,20         79.00 Conference with counsel for Intuitive (De Lage
                                                                        Landen Case) regarding court ordered meet
                                                                        and confer.
12/26/17        A. Jinnah                            0.60        237.00 Review De Lage Landen case in preparation to
                                                                        meet in confer with Plaintiff's counsel.
12/27/17        J.A. Moe, II                         0.10         59.50 [DeLege Landen/Intuitive] Review additional
                                                                        exchanges of E-Mails, including fact that the
                                                                        Court has rescheduled the hearing on the
                                                                        Status Conference for March with the
                                                                        concurrence of all counsel




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Litigation - Contested Matters and Adversary Proceedings
                                                                                                       January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date            Timekeeper                         Hours        Amount Narrative

12/27/17        J.A. Moe, II                         0.40        238.00 [Response to Document Request/AmTrust]
                                                                        Exchange E-Mails with George Newhouse and
                                                                        prepare draft of letter to Alicia Garcia at
                                                                        AmTrust on background to issuance of
                                                                        Subpoena, reviewing the status of the
                                                                        Bankruptcy Case and information on rates (as
                                                                        requested) .

12/27/17        J.A. Moe, II                         1.20        714.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Revise through two iterations the proposed
                                                                        Settlement Agreement with the Weiner Parties.


12/28/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Exchange E-Mails with Gary Klausner,
                                                                        answering three Questions on Dentons
                                                                        continuing work on the Settlement Agreement.

12/28/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee
                                                                        Investigation/Mediation/Sycamore & Roxbury]
                                                                        Exchange E-Mails with Jon Pastor on, and
                                                                        transmit to Mr. Pastor, Andrew Sherman's
                                                                        letter.

12/28/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee Investigation/Mediation/
                                                                        Sycamore & Roxbury] Review status of the
                                                                        revised Settlement Agreement, including
                                                                        exchanging E-Mails with Brian Walton and
                                                                        David Herskovitz.

12/28/17        J.A. Moe, II                         0.10         59.50 [Creditors Committee Investigation/Mediation/
                                                                        Sycamore & Roxbury] Telephone call to
                                                                        Andrew Sherman on the upcoming hearing on
                                                                        the Committee's Standing Motion, and
                                                                        producing the Insurance Policies to Mr.
                                                                        Sherman.

12/28/17        J.A. Moe, II                         0.20        119.00 [Creditors Committee Investigation/Mediation/
                                                                        Sycamore & Roxbury] Return telephone call
                                                                        fromGary Klausner on the status of the
                                                                        Settlement Agreement and producing to the
                                                                        Committee the Insurance Policies.




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Litigation - Contested Matters and Adversary Proceedings
                                                                                                      January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date            Timekeeper                         Hours    Amount Narrative
12/28/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee Investigation/Mediation/
                                                                    Sycamore & Roxbury] Review the status of
                                                                    producing documents to the Creditors
                                                                    Committee, and prepare E-Mail to Ed Reich on
                                                                    the necessity to produce documents to the
                                                                    Committee.
12/28/17        J.A. Moe, II                         0.40     238,00 [Request For Documents/AmTrust] Review and
                                                                     expand, them review and correct, the draft of
                                                                     the proposed letter to Alicia Garcia, at AmTrust,
                                                                     on background to and present status of the
                                                                     bankruptcy case and rates of attorneys working
                                                                     on the Gardens' Case.
12/28/17        J.A. Moe, II                         0.10      59.50 [Request For Documents/AmTrust] Review
                                                                     George Newhouse's proposed corrections to
                                                                     the letter to Alicia Garcia, then complete and
                                                                     send letter to Ms. Garcia.
12/28/17        J.A. Moe, II                         2.40   1,428.00 [Creditors Committee
                                                                     Investigation/Mediation/Sycamore & Roxbury]
                                                                     Review and consider, correct and amend the
                                                                     proposed Settlement Agreement, related to
                                                                     what occurs if there are settlements and
                                                                     dismissals of claims against insurance carriers;
                                                                     await completion of revisions, review the
                                                                     revised Agreement, and transmit to Brian
                                                                     Walton and David Herskovitz,
12/28/17        J.A. Moe, II                         0.20    119.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    In accordance with the telephone call with
                                                                    Andrew Sherman, telephone call with Clerk of
                                                                    the Court on scheduling three way conference
                                                                    call on pending Motion; confer with Boris
                                                                    Mankovetskiy on call; E-Mail to Andrew
                                                                    Sherman on call.
12/28/17        K.M. Howard                         0.10       26.50 Received and analyzed Creditors Committee's
                                                                     Reply to Motion for Leave and Authority to
                                                                     Prosecute.
12/28/17        K.M. Howard                         0.20       53.00 Communications with Edward Reich regarding
                                                                     the status of the ESI collection to respond to the
                                                                     document request from the creditors committee.
12/28/17        K.M. Howard                         0.40     106.00 Reviewed and assembled documents and
                                                                    pleadings pertaining to the hearing on Creditors
                                                                    Committee's Motion for Leave to Prosecute
                                                                    Claims and Causes of Action.



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Litigation - Contested Matters and Adversary Proceedings
                                                                                                     January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date            Timekeeper                         Hours    Amount Narrative
12/29/17        K.M. Howard                          0.10     26.50 Received and analysis of Notice of Continued
                                                                    OSC regarding the Cross-Complaint and Status
                                                                    Conference in DeLage v. Gardens to determine
                                                                    additional requirements.
12/29/17        K.M. Howard                          0.30     79.50 Received and analysis Judge Robles' Order on
                                                                    Motion for Leave to Prosecute to determine
                                                                    additional requirements (.2) and prepared
                                                                    communication regarding same (.1).
12/29/17        K.M. Howard                          0.40    106.00 Further review of and assembly of pleadings for
                                                                    inclusion into hearing binder for January 3,
                                                                    2018 hearing on Motion to Prosecute.
12/29/17        K.M. Howard                          0.40    106.00 Reviewed pleadings and drafted index to
                                                                    hearing binder for January 3, 2018 hearing on
                                                                    Motion to Prosecute.
12/29/17        K.M. Howard                          0.40    106.00 Finalized organization of pleadings and
                                                                    finalized hearing binder for January 3, 2018
                                                                    hearing on Motion to Prosecute.
12/29/17        J.A. Moe, II                         0.40    238.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Prepare for the conference call with Clerk of of
                                                                    the Court, then confer with Boris Mankovetskiy
                                                                    and Andrew Sherman, and include the Clerk,
                                                                    on how the Court may want to proceed on the
                                                                    Standing Motion.
12/29/17        K.M. Howard                          0.20     53.00 Ongoing review of and monitoring of Judge
                                                                    Robles' tentative rulings regarding Motion for
                                                                    Leave to Prosecute.
12/29/17        J.A. Moe, II                         1.40    833.00 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Extended conference telephone call with Brian
                                                                    Walton and David Herskovitz on the terms of
                                                                    the Settlement Agreement and brief discussion
                                                                    on responding to discovery.
12/29/17        J.A. Moe, II                         0.10     59.50 [Creditors Committee
                                                                    Investigation/Mediation/Sycamore & Roxbury]
                                                                    Telephone call from Boris Mankovetskiy on
                                                                    awaiting response on inquiry to the Court on the
                                                                    Standing Motion.




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Litigation - Contested Matters and Adversary Proceedings
                                                                                                      January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date              Timekeeper                       Hours      Amount Narrative
12/29/17          J.A. Moe, II                       0.20      119.00 [Creditors Committee
                                                                      Investigation/Mediation/Sycamore & Roxbury]
                                                                      Review the Court's Ruling on the Standing
                                                                      Motion, the telephone call to Boris
                                                                      Mankovetskiy and Andrew Sherman on
                                                                      decision.

Total Hours                                       123.80

Fee Amount                                                                                                $66,390.50



                                               TIME AND FEE SUMMARY


        Timekeeper                                                   Rate          Hours                        Fees
        S. Maizel                                                 $650.00          19.80                  $12,870.00
        G. Newhouse                                               $650.00           1.20                     $780.00
        S. Walker                                                 $650.00           5.00                   $3,250.00
        J.A. Moe, II                                              $595.00          66.90                  $39,805.50
        A. Goodman                                                $250.00           2.30                     $575.00
        A. Jinnah                                                 $395.00          11.20                   $4,424.00
        K.M. Howard                                               $265.00          16.40                   $4,346.00
        T. Ryan                                                   $340.00           1.00                     $340.00
        Totals                                                                    123.80                  $66,390.50

                                               DISBURSEMENT DETAIL

Date              Description                                                                                Amount
10/31/2017        Delivery & Postage- USA LEGAL, INC.                                                          20.00
11/8/2017         Delivery & Postage - USA LEGAL, INC.                                                         25.00
11/22/2017        Delivery & Postage - USA LEGAL, INC.                                                         99.00
12/5/2017        Delivery & Postage - USA LEGAL, INC.                                                          31.90
                                                                                           SUBTOTAL           175.90
                 Document reproduction                                                                         46.30
                                                                                           SUBTOTAL            46.30




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Litigation - Contested Matters and Adversary Proceedings
                                                                                                       January 24, 2018
Matter: 15257497-000015
Invoice No.: 1974753

Date            Description                                                                                   Amount
12/15/2017      Filing Fees Ahmed R. Jinnah, Attend status conference in Fisher & Phillips v.                   86.00
                Gardens Regional Hospital by CourtCall.
10/23/2017      Filing Fees - USA LEGAL, INC.                                                                   94.25
                                                                                                SUBTOTAL       180.25
11/27/2017      Outside Professional Services - CASE ANYWHERE LLC                                                5.00
12/7/2017       Outside Professional Services PACER, PUBLIC ACCESS TO COURT                                    273.20
                ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                2637538-Q32017
                                                                                                SUBTOTAL       278.20
                Total Disbursements                                                                           $680.65

                       Fee Total                                          $       66,390,50


                       Disbursement Total                                            680.65



                       Invoice Total                                              67,071.15




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                                                                 Dentons US LLP                         Salans FMC SNR Denton
                                                                 601 S. Figueroa Street                 McKenna Long
             DENTONS                                             Suite 2500                             dentons.com
                                                                 Los Angeles, California 90017-5704

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                      January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000015
             USA

             Litigation - Contested Matters and Adversary Proceedings

                                                    Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                 Payments/

         Date               Invoice No.           Invoice Amount                Adjustments                         Total
         01/19/17           1853845                     32,510.00                    (260.00)                  32,250.00
         02/22/17           1865404                       9,285.71                   (312.21)                   8,973.50
         03/10/17           1870876                     12,867.05                    (858.05)                  12,009,00
         04/19/17           1883654                     58,143.10                    (747.60)                  57,395.50
         05/24/17           1895427                     36,355.95                    (162.95)                  36,193.00
         06/12/17           1900477                     47,066.00                         0.00                 47,066.00
         07/11/17           1907894                     48,650.60                    (143.10)                  48,507.50
         08/14/17           1920738                     58,661.56                    (946.06)                  57,715.50
         09/14/17           1930412                     30,032.96                    (833.96)                  29,199.00
         10/17/17           1942311                     21,723.15                    (468.15)                  21,255.00
         11/13/17          1951646                      76,142.34                    (179.84)                  75,962.50
         12/12/17          1963215                      62,378.15                         0.00                 62,378.15
         01/24/18          1974753                      67,071.15                         0.00                 67,071.15

                                                 Total Outstanding Invoices                                   $555,975.80




                                              Questions should be directed to:
                                                         S. Maize!
                                                    at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                               Desc
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                                                        Dentons US LLP                       Salans FMC SNR Denton
    DENTONS                                             601 S. Figueroa Street               McKenna Long
                                                                                             dentons.com
                                                        Suite 2500
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                                 January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                       Invoice No. 1974754
    USA

   Client/Matter: 15257497-000017

   Non Working Travel
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                        $           2,902.00




                              Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                          OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons.com
                            In order to guarantee proper allocation of payments

             All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                       Questions relating to this invoice should be directed to:
                                               S. Maize!
                                         at 1 213 623 9300
    Case 2:16-bk-17463-ER            Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                 Desc
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




                                                                                                         January 24, 2018
Gardens Regional Hospital & Medical Center
c/o Brian Walton                                                                                     Invoice No. 1974754
3719 Meadville Dr.
Sherman Oaks, CA 91403
USA

Client/Matter: 15257497-000017

Non Working Travel


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                       Hours           Amount Narrative

12/04/17        J.A. Moe, II                       0.40            238.00 [Creditors Committee
                                                                          Investigation/Mediation/Directors & Officers]
                                                                          Return travel from the Roybal Federal Building
                                                                          following the hearing before Judge Robles
                                                                          approving the Settlement Agreement,

12/04/17        J.A. Moe, II                       0.10              59.50 [Moscovitz] Review David Herskovitz revised
                                                                           letter to Andrew Sherman; telephone call to
                                                                           Andrew Sherman on investigating Claims
                                                                           before proceeding.

 12/04/17       J.A. Moe, II                       0.40            238.00 [Creditors Committee
                                                                          Investigation/Mediation/Directors & Officers]
                                                                          Travel to the Roybal Federal Building for the
                                                                          hearing before Judge Robles on approval of the
                                                                          Settlement Agreement.

 12/06/17       J.A. Moe, II                       0.40             238.00 Travel to the Roybal Federal Building for
                                                                           Mediation with Weiner Parties.

 12/06/17       J.A. Moe, II                       0.30             178.50 [Creditors Committee
                                                                           Investigation/Mediation/Sycamore & Roxbury]
                                                                           Return travel from the Roybal Federal Building
                                                                           following Mediation.

 12/15/17       S. Maizel                          3.00          1,950.00 Travel to and from hearing in District Court in
                                                                          Santa Ana.

 Total Hours                                       4.60
                                                                                                                       $2,902.00
 Fee Amount




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Non Working Travel                                                                   January 24, 2018
Matter: 15257497-000017
Invoice No.: 1974754



                                             TIME AND FEE SUMMARY

                                                                Rate        Hours              Fees
        Timekeeper
                                                             $650.00          3.00         $1,950.00
        S. Maize!
                                                             $595.00          1.60          $952.00
        J.A. Moe, II
                                                                              4.60         $2,902.00
        Totals

                       Fee Total                                       2,902.00



                       Invoice Total                            $      2,902.00




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                                                                 Dentons US LLP                         Salans FMC SNR Denton
             H NTONS.                                            601 S. Figueroa Street                 McKenna Long
                                                                                                        dentons.com
                                                                 Suite 2500
                                                                 Los Angeles, California 90017-5704

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                      January 24, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000017
             USA

             Non Working Travel

                                                   Statement of Account




        According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                  Payments/

         Date              Invoice No.           Invoice Amount                 Adjustments                         Total
         01/19/17          1853848                        9,771.00                        0.00                  9,771.00
         02/22/17          1865510                        2,220.00                        0.00                  2,220.00
         03/10/17          1870878                        1,365.00                        0.00                  1,365.00
         05/24/17          1895428                        1,249.50                        0.00                  1,249.50
         06/12/17          1900472                         476.00                         0.00                    476.00
         09/14/17          1930413                         357.00                         0.00                    357.00
         11/13/17          1951647                        2,439.50                        0.00                  2,439.50
         12/12/17          1963216                         714.00                         0.00                    714.00
         01/24/18          1974754                        2,902.00                        0.00                  2,902.00

                                                Total Outstanding Invoices                                      $21,494.00




                                             Questions should be directed to:
                                                        S. Maizel
                                                   at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                                       Dentons US LLP                       Salans FMC SNR Denton
                                                       601 S. Figueroa Street               McKenna Long
                                                       Suite 2500                           dentons.com
                                                       Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                             January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                   Invoice No. 1974755
    USA

   Client/Matter: 15257497-000018

   Plan and Disclosure Statement
                                                                                        Payment Due Upon Receipt



   Total This Invoice                                                                                   585.00




                              Please return this page with your payment

   Payments by check should be sent to:                         Payment by wire transfer should be sent to:
            Dentons US LLP                                                   Citi Private Bank
             Dept. 894579                         OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                       ABA Transit # 271070801
                                                                        Account #: 0801051693
                                                                    Account Name: Dentons US LLP
                                                                         Swift Code: CITIUS33
                                                                Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons,corn
                            In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maize!
                                        at 1 213 623 9300
     Case 2:16-bk-17463-ER              Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                              Desc
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974755
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000018

Plan and Disclosure Statement


For Professional Services Rendered through December 31, 2017:

Date             Timekeeper                      Hours           Amount Narrative

12/04/17         S. Maizel                         0.40           260.00 Update sources and uses of cash chart (.1);
                                                                         emails re data for same (.3).

12/05/17         S. Maizel                         0.50           325.00 Update sources and uses of cash chart.

Total Hours                                        0.90

Fee Amount                                                                                                             $585.00



                                              TIME AND FEE SUMMARY


        Timekeeper                                                        Rate              Hours                            Fees

        S. Maizel                                                      $650.00                0.90                     $585.00

        Totals                                                                                0.90                     $585.00

                        Fee Total                                                      585.00



                        Invoice Total                                                   585.00




                                                      2
    Case 2:16-bk-17463-ER             Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                 Desc
                                       Main Document    Page 75 of 100
                                                             Dentons US LLP                         Salans FMC SNR Denton
                                                             601 S. Figueroa Street                 McKenna Long
                    ONS                                      Suite 2500                             dentons.com
                                                             Los Angeles, California 90017-5704

                                                             For your Information - Open Invoices


         Gardens Regional Hospital & Medical Center
         do Brian Walton                                                                                      January 24, 2018
         3719 Meadville Dr.
         Sherman Oaks, CA 91403                                                            Client/Matter #: 15257497-000018
         USA

         Plan and Disclosure Statement

                                                Statement of Account




       According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                        If your records are not in agreement with ours, please call us. Thank you.


                                                                              Payments/

         Date           Invoice No.            Invoice Amount               Adjustments                         Total

         01/19/17       1853849                       1,864.50                        0.00                  1,864.50

         02/22/17       1865405                          59.50                        0.00                      59.50

         04/19/17       1883663                          59.50                        0.00                      59.50

         05/24/17       1895429                        773.50                         0.00                    773.50

         08/14/17       1920739                        198.50                         0.00                    198.50

         09/14/17       1930414                       1,395.10                     (31.10)                  1,364.00

         11/13/17       1951652                       1,300.00                        0.00                  1,300.00

         12/12/17       1963217                       1,744.00                        0.00                  1,744.00

         01/24/18       1974755                        585.00                         0.00                    585.00

                                              Total Outstanding Invoices                                     $7,948.50




                                           Questions should be directed to:
                                                       S. Maizel
                                                  at 1 213 623 9300

                                         Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                               Desc
                                 Main Document    Page 76 of 100
                                                        Dentons US LLP                       Salans FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                                 January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                       Invoice No. 1974756
    USA

   Client/Matter: 15257497-000020

   Relief from Stay and Adequate Protection
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                        $           3,434.50




                              Please return this page with your payment

    Payments by check should be sent. to:                         Payment by wire transfer should be sent to:
             Dentons US LLP                                                    Citi Private Bank
              Dept. 894579                         OR               227 West Monroe, Chicago, IL 60606
       Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                          Account #: 0801051693
                                                                      Account Name: Dentons US LLP
                                                                           Swift Code: CITIUS33
                                                                  Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons.com
                            In order to guarantee proper allocation of payments

             All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                       Questions relating to this invoice should be directed to:
                                               S. Maizel
                                         at 1 213 623 9300
     Case 2:16-bk-17463-ER             Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                              Desc
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                                                                Dentons US UP                        Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 do Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974756
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000020

Relief from Stay and Adequate Protection


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                       Hours           Amount Narrative
12/01/17        K.M. Howard                        0.70           185.50 Reviewed culled documents and pleadings and
                                                                         drafted index for inclusion into December 4,
                                                                         2017 hearing binder.
12/11/17        J.A. Moe, II                       0.10             59.50 [Jane Winter Qui Tam Cases] Exchange E-
                                                                          Mails with Attorney Steve Goodman on seeking
                                                                          relief from stay in behalf of Jane Winter.
12/12/17        J.A. Moe, II                       0.10             59.50 [Jane Winter Qui Tam Case] In regard to relief
                                                                          from stay being sought by Attorney Steve
                                                                          Goodman for Jane Winter, E-Mails to Kathryn
                                                                          Stanton and Tracy Green on status of the Qui
                                                                          Tam Cases.
12/14/17        J.A. Moe, II                       0.20           119.00 [Qui Tam Cases] Review and assemble
                                                                         documents for conference call with Tracy
                                                                         Green, Kathryn Stanton and Andrew Sherman,
                                                                         including preliminary review of Settlement
                                                                         Agreement with RSUI (in regard to District
                                                                         Court Litigation
12/14/17        J.A. Moe, II                       0.10             59.50 [Qui Tam Cases] Exchange E-Mails with Tracy
                                                                          Green on issues relating to David Tartaglio's
                                                                          recent letter denying coverage, and
                                                                          background to resolution of the District Court
                                                                          Cases (and responsibilities of RSUI under
                                                                          previously executed Settlement Agreement).
12/14/17        J.A. Moe, II                       0.70           416.50 [Qui Tam Cases] Conference telephone call
                                                                         with Tracy Green and Kathryn Stanton (and
                                                                         scheduled for Andrew Sherman), discussing
                                                                         status of the Qui Tam Cases (and confirming
                                                                         that RSUI does not defend Berle Weiner).
12/14/17        J.A. Moe, II                       0.20            119.00 [Jane Winter's Qui Tam Case] Exchange E-
                                                                          Mails with David Herskovitz and Brian Walton
                                                                          on relief from the automatic stay and tender of
                                                                          case to Insurance Carrier.




                                                      2
       Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                  Desc
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Relief from Stay and Adequate Protection
                                                                                                  January 24, 2018
Matter: 15257497-000020
Invoice No.: 1974756

Date            Timekeeper                     Hours    Amount Narrative

12/14/17        J.A. Moe, II                    0.10       59.50 [Jane Winter Qui Tam Case] Preliminarily
                                                                 review documents on insurance coverage,
                                                                 related to the Qui Tam Claim asserted by Jane
                                                                 Winter received from David Herskovitz.

12/14/17        J.A. Moe, II                    0.10       59.50 [Jane Winter Qui Tam Case] Telephone call to
                                                                 Attorney Andrew Goodman on initial review of
                                                                 documents on insurance coverage, related to
                                                                 the Qui Tam Claim asserted by Jane Winter,
                                                                 and review of small recovery for Claimants if no
                                                                 coverage.

12/15/17        J.A. Moe, II                    0.20     119.00 [Jane Winter Qui Tam Case] Exchange E-Mails
                                                                with and telephone call from Michaela Sozio on
                                                                insurance related to the Qui Tam Case; review
                                                                letter a form RSUI and transmit to Ms. Sozio for
                                                                review, with E-Mail on Plaintiff seeking relief
                                                                from the automatic stay.
12/18/17        J.A. Moe, II                    0.20     119.00 [Jane Winter Qui Tam Action] Preliminarily
                                                                review the Motion For Relief From Stay.
12/18/17        K.M. Howard                     0.30       79.50 Reviewed Winters' Motion for Relief from
                                                                 Automatic Stay and culled deadlines and
                                                                 hearing date for inclusion into Critical Dates
                                                                 Memorandum
12/19/17        J.A. Moe, II                    0.10       59.50 [Jane Winter Qui Tam] Exchange E-Mails with
                                                                 Gary Torrell on the Jane Winters Qui Tam.
12/19/17        J.A. Moe, II                    0.10       59.50 [Jane Winter Qui Tam] Telephone call with
                                                                 Gary Klausner on responding to the Motion For
                                                                 Relief From Stay, and transmitting the Motion to
                                                                 Mr. Klausner.
12/19/17        J.A. Moe, II                    0.20      119.00 [Jane Winter Qui Tam] Review Motion and
                                                                 prepare E-Mail on insurance coverage to
                                                                 Michaela Sozio and transmit Motion to Ms.
                                                                 Sozio.
12/19/17        J.A. Moe, II                    0.30      178.50 [Jane Winter Qui Tam] Prepare rough draft of a
                                                                 Response to the Motion For Relief From The
                                                                 Automatic Stay.
12/19/17        J.A. Moe, II                    0.20      119.00 [Jane Winter Qui Tam Cases] Telephone call
                                                                 with Gary Torrell on preparing Opposition to the
                                                                 Motion For Relief From Stay.
12/19/17        J.A. Moe, II                    0.10       59.50 [Jane Winters Qui Tam Action] Exchange E-
                                                                 Mails with Michaela Sozio on whether RSUI is
                                                                 providing a defense to the Qui Tam Action.




                                                   3
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Relief from Stay and Adequate Protection
                                                                                                  January 24, 2018
Matter: 15257497-000020
Invoice No.: 1974756

Date            Timekeeper                     Hours    Amount Narrative

12/20/17        K.M. Howard                     0.40     106.00 Assembled papers regarding Winter's Motion
                                                                for Relief from Stay to assist attorney in drafting
                                                                debtor's response.

12/21/17        J.A. Moe, Ii                    0.30      178.50 [Jane Winter Qui Tam] Review and correct the
                                                                 Debtor's Response and Opposition to the
                                                                 Motion seeking approval of the Settlement
                                                                 Stipulation.

12/26/17        J.A. Moe, II                    0.60      357.00 [Jane Winter Qui Tam Case] Review Gary
                                                                 Torrell's proposed Opposition to the Motion For
                                                                 Relief From Stay, and prepare revised      '
                                                                 Opposition to be filed in behalf of the Debtor.

 12/26/17       J.A. Moe, II                    0.60      357.00 [Jane Winter Qui Tam Case] Exchange E-Mails
                                                                 with Gary Torrell on addition to the Opposition,
                                                                 then edit and correct the Debtor's Opposition to
                                                                 the Motion For Relief From Stay.

 12/26/17       J.A. Moe, II                    0.40      238.00 [Jane Winter Qui Tam Case] Review Gary
                                                                 Torrell's request for an additional argument to
                                                                 be included in the Debtor's Response and
                                                                 Opposition to the Motion For Relief From Stay,
                                                                 then prepare expanded Response and
                                                                 Opposition with additional argument.

 12/26/17       J.A. Moe, II                    0.10       59.50 [Jane Winter Qui Tam Case] Complete editing
                                                                 the Debtor's Opposition to the Motion For Relief
                                                                 From Stay.

 12/28/17       K.M. Howard                     0.10       26.50 Received and analyzed Opposition to Motion
                                                                 for Relief from Automatic Stay filed by Rollins
                                                                 Nelson Group.

 12/28/17       K.M. Howard                      0.10      26.50 Received and analyzed Request for Judicial
                                                                 Notice in support of Opposition to Motion for
                                                                 Relief from Automatic Stay filed by Rollins
                                                                 Nelson Group.

 12/28/17       K.M. Howard                      0.10      26.50 Received and analyzed Debtor's Response to
                                                                 Motion for Relief from Automatic Stay filed by
                                                                 Rollins Nelson Group.

 Total Hours                                     6.70

 Fee Amount                                                                                              $3,425.50




                                                    4
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Relief from Stay and Adequate Protection
                                                                                               January 24, 2018
Matter: 15257497-000020
Invoice No.: 1974756



                                            TIME AND FEE SUMMARY


        Timekeeper                                                Rate          Hours                    Fees

        J.A. Moe, II                                           $595.00           5.00               $2,975.00

        K.M. Howard                                            $265.00           1.70                 $450.50

        Totals                                                                   6.70                $3,425.50


                                             DISBURSEMENT DETAIL

 Date            Description                                                                          Amount

 12/7/2017       Outside Professional Services PACER, PUBLIC ACCESS TO COURT                              9.00
                 ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                 2637538-Q32017
                                                                                        SUBTOTAL          9.00

                 Total Disbursements                                                                     $9.00


                        Fee Total                                 $      3,425.50


                       Disbursement Total                                      9.00



                       Invoice Total                                      3,434.50




                                                    5
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                                                             Dentons US LLP                         Salans FMC SNR Denton
                                                             601 S. Figueroa Street                 McKenna Long
                TO►:N                                        Suite 2500                             dentons.com
                                                             Los Angeles, California 90017-5704

                                                             For your Information - Open Invoices


         Gardens Regional Hospital & Medical Center
         c/o Brian Walton                                                                                     January 24, 2018
         3719 Meadville Dr.
         Sherman Oaks, CA 91403                                                            Client/Matter #: 15257497-000020
         USA

         Relief from Stay and Adequate Protection

                                                 Statement of Account




       According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                        If your records are not in agreement with ours, please call us. Thank you.


                                                                              Payments/

         Date           Invoice No.            Invoice Amount               Adiustments                          Total

         01/19/17       1853851                       2,795.00                        0.00                   2,795.00

         02/22/17       1865406                       2,772.00                        0.00                   2,772.00

         03/10/17       1870879                       6,497.00                        0.00                   6,497.00

         04/19/17       1883664                       1,216.50                        0.00                   1,216.50

         05/24/17       1895430                         178.50                        0.00                     178.50

         07/11/17       1907898                          79.50                        0.00                      79.50

         08/14/17       1920740                       2,771.50                        0.00                   2,771.50

         09/14/17       193041.6                      1,092.00                         0.00                  1,092.00

         10/17/17       1942312                       1,118.00                        0.00                   1,118.00

         11/13/17       1951626                       1,944.50                        0.00                   1,944.50

         12/12/17       1963219                         543.00                         0.00                    543.00

         01/24/18       1974756                       3,434.50                         0.00                  3,434.50

                                               Total Outstanding Invoices                                   $24.442 00




                                            Questions should be directed to:
                                                        S. Maize)
                                                   at 1 213 623 9300

                                         Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                               Desc
                                 Main Document    Page 82 of 100
                                                        Dentons US LLP                       Salans FMC SNR Denton
       ='W                                              601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                                 January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                       Invoice No. 1974758
    USA

   Client/Matter: 15257497-000021

   Reporting
                                                                                         Payment Due Upon Receipt



   Total This Invoice                                                                        $           1,140.70




                               Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                          OR              227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



               Please send payment remittance advice information to cashreceipts@dentons.com
                             In order to guarantee proper allocation of payments

             All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                       Questions relating to this invoice should be directed to:
                                               S. Maize!
                                         at 1 213 623 9300
     Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                 Desc
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                                                                Dentons US LLP                       Salans FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 do Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1974758
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000021

Reporting


For Professional Services Rendered through December 31, 2017:

Date           Timekeeper                        Hours           Amount Narrative

12/07/17       K.M. Howard                         0.40           106.00 Reviewed communications from Chinda
                                                                         Bhanaraksa regarding the Debtor's bank
                                                                         statements for November 2017 and reviewed
                                                                         attached statements in conjunction with
                                                                         submitting same to the Office of the U.S.
                                                                         Trustee.

12/15/17       K.M. Howard                         0.10             26.50 Reviewed communication from United States
                                                                          Trustee confirming receipt of Debtor's
                                                                          submitted bank statements for November 2017.

12/15/17       K.M. Howard                         0.40            106.00 Prepared and organized Debtor's November
                                                                          2017 bank statements and submitted same to
                                                                          United States Trustee.

12/21/17       K.M. Howard                         0.10             26.50 Reviewed communication from Karen
                                                                          Nimniyom regarding the Monthly Operating
                                                                          Report for November 2017.

12/29/17       K.M. Howard                         0.40            106.00 Reviewed and revised Monthly Operating
                                                                          Report for November 2017.

12/29/17       K.M. Howard                         0.20             53.00 Assembled finalized Monthly Operating Report
                                                                          for November 2017 and coordinated filing and
                                                                          service of same.

12/29/17       K.M. Howard                         0.40            106.00 Reviewed Monthly Operating Report (.1) and
                                                                          drafted Debtor's Monthly Operating Report
                                                                          Disbursement Summary for November 2017
                                                                          (.3).

12/29/17       K.M. Howard                         0.20             53.00 Finalized Debtor's Monthly Operating Report
                                                                          Disbursement Summary for November 2017
                                                                          (.1) and submitted same to the Office of the
                                                                          United States Trustee.

Total Hours                                        2.20

Fee Amount                                                                                                             $583.00




                                                      2
     Case 2:16-bk-17463-ER                Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06               Desc
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Reporting
                                                                                                   January 24, 2018
Matter: 15257497-000021
Invoice No.: 1974758



                                                TIME AND FEE SUMMARY


        Timekeeper                                                     Rate         Hours                    Fees

        K.M. Howard                                                  $265.00         2.20                 $583.00

        Totals                                                                       2.20                 $583.00

                                                 DISBURSEMENT DETAIL

Date             Description                                                                              Amount

10/18/2017       Delivery & Postage - -      USA LEGAL, INC.                                                15.00

10/31/2017       Delivery & Postage - -      USA LEGAL, INC.                                                45.00

11/2/2017        Delivery & Postage - -      USA LEGAL, INC.                                               140.95

10/31/2017       Delivery & Postage - -      USA LEGAL, INC.                                               130.00

10/30/2017       Delivery & Postage - -      USA LEGAL, INC.                                               211.75
                                                                                            SUBTOTAL       542.70

10/16/2017       LITIGATION SUPPORT VENDORS - -             USA LEGAL, INC.                                 15.00
                                                                                            SUBTOTAL        15.00

                 Total Disbursements                                                                      $557.70

                        Fee Total                                      $        583.00


                        Disbursement Total                                      557.70



                        Invoice Total                                          1,140 70




                                                        3
    Case 2:16-bk-17463-ER             Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                 Desc
                                       Main Document    Page 85 of 100
                                                             Dentons US LLP                         Salans FMC SNR Denton
                                                             601 S. Figueroa Street                 McKenna Long
                                                             Suite 2500                             dentons.com
                                                             Los Angeles, California 90017-5704

                                                             For your Information - Open Invoices


         Gardens Regional Hospital & Medical Center
         c/o Brian Walton                                                                                     January 24, 2018
         3719 Meadville Dr.
         Sherman Oaks, CA 91403                                                             Client/Matter #: 15257497-000021
         USA

         Reporting

                                                Statement of Account




       According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                        If your records are not in agreement with ours, please call us. Thank you.


                                                                              Payments/

         Date           Invoice No.            Invoice Amount               Adjustments                         Total

         01/19/17       1853852                       1,294.50                        0,00                   1,294.50

         02/22/17       1865407                       1,966.50                        0.00                   1,966.50

         03/10/17       1870882                       4,058.00                        0.00                   4,058.00

         04/19/17       1883665                         845.00                     (50.00)                     795.00

         05/24/17       1895432                       1,208.50                     (30.00)                   1,178.50

         06/12/17       1900473                       1,113.00                        0.00                   1,113.00

         07/11/17       1907899                         945.50                     (38.00)                     907.50

         08/14/17       1920741                       1,291.00                         0.00                  1,291.00

         09/14/17       1930418                       1,008.60                     (21.60)                     987.00

         10/17/17       1942303                         662.50                         0.00                    662.50

         11/13/17       1951588                       2,201.50                     (51.00)                   2,150.50

         12/12/17       1963220                         556.50                         0.00                    556.50

         01/24/18       1974758                       1,140.70                         0.00                  1,140.70

                                              Total Outstanding Invoices                                    $18,101,20




                                           Questions should be directed to:
                                                      S. Maizel
                                                 at 1 213 623 9300

                                         Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER          Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                Desc
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                                                        Dentons US LLP                       Salans FMC SNR Denton
                                                        601 S. Figueroa Street               McKenna Long
                                                        Suite 2500                           dentons.com
                                                        Los Angeles, California 90017-5704



    Gardens Regional Hospital & Medical Center
    do Brian Walton                                                                                 January 24, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                       Invoice No. 1975029
    USA

   Client/Matter: 15257497-000024

   Appellate Proceedings
                                                                                         Payment Due Upon Receipt




   Total This Invoice                                                                        $           9,913.40




                              Please return this page with your payment

    Payments by check should be sent to:                          Payment by wire transfer should be sent to:
             Dentons US LLP                                                   Citi Private Bank
              Dept. 894579                         OR               227 West Monroe, Chicago, IL 60606
       Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                          Account #: 0801051693
                                                                      Account Name: Dentons US LLP
                                                                           Swift Code: CITIUS33
                                                                  Reference: Invoice # and/or client matter #



               Please send payment remittance advice information to cashreceipts@dentons.com
                             In order to guarantee proper allocation of payments

             All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                       Questions relating to this invoice should be directed to:
                                               S. Maizel
                                         at 1 213 623 9300
     Case 2:16-bk-17463-ER           Doc 1112 Filed 02/16/18 Entered 02/16/18 16:22:06                                 Desc
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                                                                Dentons US LLP                       Salons FMC SNR Denton
                                                                601 S. Figueroa Street               McKenna Long
                                                                Suite 2500                           dentons.com
                                                                Los Angeles, California 90017-5704




 Gardens Regional Hospital & Medical Center                                                              January 24, 2018
 do Brian Walton
 3719 Meadville Dr.                                                                                  Invoice No. 1975029
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000024

Appellate Proceedings


For Professional Services Rendered through December 31, 2017:

Date            Timekeeper                       Hours Narrative

12/13/17        J.A. Moe, II                       1.00 [Motion To Dismiss] Consider and review argument on appeal
                                                        before Judge Staton for the hearing on December 15th on the
                                                        Motion To Dismiss.

12/13/17        S. Maizel                          2.00 Prepare for oral argument in district court on motion to dismiss
                                                        sale order appeal.

12/13/17        S. Maizel                          1.00 Review State's opening brief in QAF tax appeal and exhibits.

12/13/17        T. Moyron                          1.10 Attend meeting with S. Maizel and J. Moe to prepare for oral
                                                        argument before the District Court on motion to dismiss and
                                                        retrieve and analyze pleadings in connection therewith.

12/14/17        S. Maizel                          1.10 Review and respond to emails re district court argument on
                                                        motion to dismiss (.1); review cases in preparation for appellate
                                                        argument (1.0).

12/14/17        K.M. Howard                        0.10 Prepared communication regarding the upcoming hearing on
                                                        Debtor's Motion to Dismiss Attorney General's Appeal.

12/15/17        S. Maizel                          4.00 Prepare for hearing on motion to dismiss in District Court (3.0);
                                                        hearing on motion to dismiss appeal from sale order (1.0).

12/15/17        K.M. Howard                        0.30 Analysis of Bankruptcy Rules of Appellant Procedure Rule 8018
                                                        to determine briefing deadlines and prepared communication
                                                        regarding same.

12/15/17        K.M. Howard                        0.20 Prepared followup communications regarding debtor's briefing
                                                        schedule.

12/15/17        K.M. Howard                        0.30 Assembled Appellant's Opening Brief and Excerpts of Record
                                                        (.2) and prepared communications regarding same (.1).

12/15/17        J.A. Moe, II                       0.10 Review and confirm status of the Appellee's Opening Brief due
                                                        on Attorney General's Appeal (in behalf of the Department of
                                                        Health Care Services) on the decision denying administrative
                                                        priority status as to Claims.

12/15/17        J.A. Moe, II                       0.30 [Sale Of Hospital Assets] Review of proceedings in the District
                                                        Court, before Judge Staton, on the Motion To Dismiss.
12/15/17        T. Moyron                          0.20 Conference with S. Maizel regarding outcome of hearing on
                                                        motion to dismiss.



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                                                                                           January 24, 2018
Matter: 15257497-000024
Invoice No.: 1975029

Date           Timekeeper            Hours Narrative

12/18/17       S. Maize!              0.10 Email to client and committee update on appeals.

12/18/17       S. Maizel              1.00 Review states opening brief and exhibits on QAF tax appeal
                                           and outline response.

12/18/17       K.M. Howard            0.20 Reviewed and revised Notice of Intent to Appear at Oral
                                           Argument before the Bankruptcy Appellate Panel.

12/18/17       K.M. Howard            0.20 Reviewed Ninth Circuit's Notice of Oral Argument in Debtor's
                                           appeal against the Department of Health Care Services and
                                           culled information for inclusion into Critical Dates Memorandum.

12/18/17       K.M. Howard            0.10 Analysis of Civil Minutes of Oral Argument regarding Debtor's
                                           Motion to Dismiss Appeal of Attorney General to determine
                                           additional requirements or deadlines.

12/19/17       K.M. Howard            0.20 Reviewed appellate docket in Case No. 17-1198 to determine
                                           status of all filed documents and court notices.

12/19/17       K.M. Howard            0.10 Analysis of communication from Kenneth Wang regarding the
                                           DHCS' Brief and Excerpts of Record.

12/19/17       K.M. Howard            0.60 Assembled and organized Appellant's Brief and Excerpts of
                                           Record.
12/19/17       K.M. Howard            0.10 Prepared communication regarding the BAP Hearing
                                           Acknowledgment.

12/19/17       K.M. Howard            0.40 Reviewed appellate rules and cross-referenced requirements to
                                           Critical Dates Memorandum to make certain no date is missed.
12/20/17       S. Maize!              0.50 Telephone conference with Mark Regan, Hooper Lundy &
                                           Bookman re QAF Fees Tax appeal.
12/20/17       S. Maizel              0.50 Prepare filings in CDHCS V. Ehrenberg re state position on
                                           QAF fees as taxes.
12/21/17       K.M. Howard            0.20 Prepared communications regarding the preparation of Debtor's
                                           Opening Brief and culled key documents regarding same.
12/21/17       K.M. Howard            0.50 Assembled and organized underlying motions regarding
                                           payment of administrative priority QAF (.4) and prepared
                                           communication regarding same (.1).

Total Hours                          16.40

Fee Amount                                                                                       $9,105.50




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                                                                                               January 24, 2018
Matter: 15257497-000024
Invoice No.: 1975029



                                              TIME AND FEE SUMMARY


        Timekeeper                                                Rate          Hours                    Fees

        S. Maize)                                              $650,00          10.20               $6,630.00

        J.A. Moe, II                                           $595.00           1.40                 $833.00

        T. Moyron                                              $550.00           1.30                 $715.00

        K.M. Howard                                            $265.00           3.50                 $927.50

        Totals                                                                  16,40               $9,105.50


                                              DISBURSEMENT DETAIL

Date             Description                                                                          Amount

11/8/2017        Delivery & Postage - USA LEGAL, INC.                                                    98.50
                                                                                        SUBTOTAL         98.50

 12/1/2017       Outside Professional Services - STEPHEN SAMUEL WASSERMAN INV                            30.00
                 9105 - 12/01/2017
12/7/2017        Outside Professional Services PACER, PUBLIC ACCESS TO COURT                           403.90
                 ELECTRONIC RECORDS; USAGE: 07/01/2017 - 09/30/2017; INV.
                 2637538-Q 32017
                                                                                        SUBTOTAL       433.90

 11/26/2017      WESTLAW MOYRON\TANIA                                                                  131.50

 12/4/2017       WESTLAW MOYRON\TANIA                                                                    75.00

12/13/2017       WESTLAW MOYRON\TANIA                                                                    34.50




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                                                                                       January 24, 2018
Matter: 15257497-000024
Invoice No.: 1975029

Date           Description                                                                    Amount

12/14/2017     WESTLAW MOYRON\TANIA                                                             34.50
                                                                                SUBTOTAL       275.50

               Total Disbursements                                                            $807.90


                        Fee Total                              $     9,105.50


                        Disbursement Total                             807.90



                        Invoice Total




                                                    5
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                                                             Dentons US LLP                         Salans FMC SNR Denton
                                                             601 S. Figueroa Street                 McKenna Long
                                                             Suite 2500                             dentons.com
                                                             Los Angeles, California 90017-5704

                                                             For your Information - Open Invoices


         Gardens Regional Hospital & Medical Center
         do Brian Walton                                                                                      January 24, 2018
         3719 Meadville Dr.
         Sherman Oaks, CA 91403                                                            Client/Matter #: 15257497-000024
         USA

         Appellate Proceedings

                                                Statement of Account




       According to our records, as of January 24, 2018, the amounts shown below are outstanding on this matter.
                        If your records are not in agreement with ours, please call us. Thank you.


                                                                              Payments/

         Date           Invoice No.            Invoice Amount               Adjustments                         Total

         06/12/17       1900475                     51,599.50                  (1,717.50)                  49,882.00

         07/11/17       1907900                     22,171.00                         0.00                 22,171.00

         08/14/17       1920742                     37,563.50                         0.00                 37,563.50

         09/14/17       1930419                     13,792.60                     (326.10)                 13,466.50

         10/17/17       1942385                     36,077.32                    (442.82)                  35,634.50

         11/13/17       1951655                     22,102.50                     (119.50)                 21,983.00

         12/12/17       1963224                     13,599.50                         0.00                 13,599.50

         01/24/18       1975029                       9,913.40                        0.00                   9,913.40

                                               Total Outstanding Invoices



                                               Credits On Account                                              $48.50




                                           Questions should be directed to:
                                                      S. Maizel
                                                 at 1 213 623 9300

                                         Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: Suite
2500, 601 South Figueroa Street, Los Angeles, California 90017-5704.

A true and correct copy of the foregoing document entitled (specify): DENTONS US LLP'S SEVENTEENTH MONTHLY
FEE APPLICATION FOR ALLOWANCE AND PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF
EXPENSES FOR THE PERIOD OF DECEMBER 2017 will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below.

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 16, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Paul F. Ready - #107469                                                        Counsel for All State County Mutual Insurance Company,
Leslie A. Tos - #299520                                                          et al. & Laura F. Arroyo, et al.
Farmer & Ready                                                                 T: 805 541 1626 / F: 805 541 0769
1254 Marsh Street                                                              E: pfready/latos/tamara@farmerandready.com
P.O. Box 1443
San Luis Obispo, CA 93406

Roman Shkodnik - #285152                                                       Counsel for Mario Alvarado, Creditor
David Yeremian & Associates Inc.                                               T: 818 230 8380 / F: 818 230 0308
535 North Brand Boulevard, Suite 705                                           E: roman.shkodnik@gmail.com
Glendale, CA 91203-1989

M. Jonathan Hayes - #090388                                                    Counsel for American Specialty Management Group
Simon Resnik Hayes LLP                                                         T: 818 783 6251 / F: 818 827 4919
15233 Ventura Boulevard, Suite 250                                             E: jhayes@srhlawfirm.com
Sherman Oaks, CA 91403

Stuart I. Koenig - #102764                                                     Counsel for Anthem Blue Cross of California/Janet Andrea,
Leech Tishman Fuscaldo & Lampl, Inc.                                             Managing Associate General Counsel
633 West Fifth Street, 48th Floor                                              T: 213 246 4970 / F: 213 640 4002
Los Angeles, CA 90071                                                          E: skoenig@leechtishman.com

Gerald N. Sims - #099133                                                       Counsel for BETA Risk Management Authority
Pyle Sims Duncan & Stevenson APC                                               T: 619 687 5200 / F: 619 687 5210
401 B Street, Suite 1500                                                       E: jerrys@psdslaw.com
San Diego, CA 92101

Daniel R. Schimizzi                                                            Counsel for Beckman Coulter, Inc. & Law Firm of
Bernstein Burkley PC                                                             Bernstein-Burkley PC
Gulf Tower, Suite 2200                                                         T: 412 456 8100 / F: 415 456 8135
707 Grant Street                                                               E: dschimizzi/cwirick@bernsteinlaw.com
Pittsburgh, PA 15219




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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Mary H. Rose - #084700                                                          Counsel for Buchalter Nemer, P.C. & Promise Garden
Buchalter, APC                                                                    Lending Company, Inc.
1000 Wilshire Boulevard, Suite1500                                              T: 213 891 0700 / F: 213 896 0400
Los Angeles, CA 90017                                                           E: mrose/salarcon@buchaltercom

Kenneth K. Wang - #201823                                                       Counsel for California Department of Health Care Services
Office of the Attorney General                                                    & California Department of Public Health
300 South Spring Street, Suite 1702                                             T: 213 897 2451 / F: 213 897 2805
Los Angeles, CA 90013                                                           E: kenneth.wang@doj.ca.gov

Lawrence J. Hilton - #156524                                                    Counsel for Cerner Health Services, Inc.
One LLP                                                                         T: 949 502 2876 / F: 949 258 5081
4000 MacArthur Boulevard, East Tower, Suite 500                                 E: Ihilton@onellp.com
Newport Beach, CA 92660-2517

Louis J. Cisz III - #142060                                                     Counsel for Cerritos Gardens General Hospital Company
Nixon Peabody LLP                                                               T: 415 984 8200 / F: 415 984 8300
One Embarcadero Center, 18th Floor                                              E: Icisz@nixonpeabody.com
San Francisco, CA 94111

Emily Platt Rich - #168735                                                      Courtesy NEF
Manuel A. Boigues - #248990                                                     T: 510 337 1001 / F: 510 337 1023
Weinberg Roger & Rosenfeld                                                      E: erich/mboigues/bankruptcycourtnotices
1001 Marina Village Parkway, Suite 200                                                   @unioncounsel.net
Alameda, CA 94501-1091

Dawn M. Coulson - #154085                                                       Courtesy NEF
Epps & Coulson LLP                                                              T: 213 929 2390 / F: 213 929 2394
707 Wilshire Boulevard, Suite 3000                                              E: dcoulson/cmadero@eppscoulson.com
Los Angeles, CA 90017

George E. Schulman - #064572                                                    Courtesy NEF
Richard K. Diamond - #070634                                                    T: 310 277 0077 / F: 310 277 5735
Danning Gill Diamond & Kollitz, LLP                                             E: gschulman/rdiamond@dgdk.com
1900 Avenue of the Stars, 11th Floor
Los Angeles, CA 90067

Barry S. Glaser - #070968                                                       Courtesy NEF
Steckbauer Weinhart LLP                                                         T: 213 229 2868 / F: 213 229 2870
333 South Hope Street, 36th Floor                                               E: bglaser/erhee@swesq.com
Los Angeles, CA 90071

R. David Jacobs - #073545                                                       Courtesy NEF
Epstein Becker & Green PC                                                       T: 310 556 8861 / F: 310 553 2165
1925 Century Park East, Suite 500                                               E: djacobs@ebglaw.com
Los Angeles, CA 90067-2506

Amanda L. Marutzky - #274376                                                    Courtesy NEF
Watt Tieder Hoffar & Fitzgerald LLP                                             T: 949 852 6700 / F: 949 261 0771
2040 Main Street, Suite 300                                                     E: amarutzky@watttiedercom
Irvine, CA 92614



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Benjamin S. Nachimson - #166690                                                Courtesy NEF
Woolf & Nachimson, LLP                                                         T: 310 474 8776 / F: 310 919 3037
15300 Ventura Boulevard, Suite 214                                             E: ben.nachimson@wnlawyers.com
Sherman Oaks, CA 91403-5828

Alan J. Stomel - #124986                                                       Courtesy NEF
Alan J. Stomel, LC                                                             T: 310 651 1570 / F: 707 377 4097
P.O. Box 1457                                                                  E: alan.stomel@gmail.com
Bodega Bay, CA 95423

Wayne R. Terry - #134685                                                       Counsel for De Lage Landen & De Lage Landen Financial
J. Alexandra Rhim - #180636                                                      Services, Inc.
Hemar, Rousso & Heald, LLP                                                     T: 818 501 3800 / F: 818 501 2985
15910 Ventura Boulevard, 12th Floor                                            E: wterry/arhim@hrhlaw.com
Encino, CA 91436

Amelia Puertas-Samara                                                          Employment Development Department
Employment Development Department                                              T: 916 464 2888 / F:
P.O. Box 826880                                                                E: itcdbgc@edd.ca.gov
Sacramento, CA 94280-0001

Talin Keshishian - #201830                                                     Counsel for FUJIFILM Medical Systems U.S.A., Inc.
Brutzkus Gubner Rozansky Seror Weber LLP                                       T: 818 827 9000 / F: 818 827 9099
21650 Oxnard Street, Suite 500                                                 E: tkeshishian@bg.law
Woodland Hills, CA 91367

M. Reed Mercado - #247318                                                      Counsel for Gardens Regional Hospital and Medical
Sheppard Mullin Richter & Hampton                                                Center, Inc.
333 South Hope Street, 48th Floor                                              T:213 617 5410 /F:
Los Angeles, CA 90071                                                          E: rmercado@sheppardmullin.com

Karl E. Block - #112739                                                        Counsel for Harbor-Gardens Capital I, LLC & Paladin-
Loeb & Loeb LLP                                                                  Gardens Management LLC
10100 Santa Monica Boulevard, Suite 2200                                       T: 310 282 2225 / F: 310 510 6729
Los Angeles, CA 90067                                                          E: kblock@loeb.com

Johnny White - #269306                                                         Counsel for J.S.E. Emergency Medical Group, Inc.
Wolf Rifkin Shapiro Schulman & Rabkin                                          T: 310 478 4100 / F: 310 479 1422
11400 Olympic Boulevard, 9th Floor                                             E: jwhite@wrslawyers.com
Los Angeles, CA 90064-1582

Ivan L. Kallick - #097649                                                      Counsel for KND Development 53, LLC
Manatt Phelps & Phillips, LLP                                                  T: 310 312 4000 /F: 310 312 4224
11355 West Olympic Boulevard                                                   E: ikallick@manatt.com
Los Angeles, CA 90064

John P. Kreis - #103737                                                        Counsel for John P. Kreis, PC
1000 Wilshire Boulevard, Suite 570                                             T: 213 613 1049 / F: 213 330 0258
Los Angeles, CA 90017                                                          E: rmercado@sheppardmullin.com




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Steven G. Polard - #090319                                                     Counsel for Le' Summit Healthcare, LLC & Promise
Eisner Jaffe                                                                     Hospital of East Los Angeles, L.P.
9601 Wilshire Boulevard, Suite 700                                             T: 310 855 3200 / F: 310 855 3201
Beverly Hills, CA 90210                                                        E: spolard@eisnerlaw.com

Howard N. Madris - #157691                                                     Counsel for Lenders Funding, LLC
Law Office of Howard N. Madris APC                                             T: 310 277 0757 / F: 310 975 6757
424 South Beverly Drive                                                        E: hmadris@madrislaw.com
Beverly Hills, CA 90212

Jeffrey I. Golden - #133040                                                    Counsel for Lobel Weiland Golden Friedman LLP & Official
Lobel Weiland Golden Friedman LLP                                                Committee of Unsecured Creditors
650 Town Center Drive, Suite 950                                               T: 714 966 1000 / F: 714 966 1002
Costa Mesa, CA 92626                                                           E: jgolden/kadele/Ifisk@lwgfIlp.com

Tiffany Strelow Cobb                                                           Counsel for Nuance Communications, Inc.
Vorys Sater Seymour and Pease LLP                                              T: 614 464 6400 / F: 614 464 6350
52 East Gay Street                                                             E: tscobb@vorys.com
Columbus, OH 43215

Steven J. Katzman - #132755                                                    Counsel for Official Committee of Unsecured Creditors
Anthony R Bisconti - #269230                                                   T: 949 369 3700 / F: 949 369 3701
Bienert Miller & Katzman, PLC                                                  E: skatzman/tbisconti@bmkattorneys.com
903 Calle Amanecer, Suite 350
San Clemente, CA 92673

Andrew H. Sherman                                                              Counsel for Official Committee of Unsecured Creditors
Boris I. Mankovetskiy                                                          T: 973 643 6982 / F: 973 643 6500
Sills Cummis & Gross PC                                                        E: asherman/bmankovetskiy@sillscummis.com
One Riverfront Plaza
Newark, NJ 07102

David W. Meadows - #137052                                                     Counsel for Olympus Corp. of the Americas
Law Offices of David W. Meadows                                                T: 310 557 8490 / F: 310 557 8493
1801 Century Park East, Suite1235                                              E: david@davidwmeadowslaw.com
Los Angeles, CA 90067

Wendy A. Loo - #176587                                                         Counsel for People of the State of California
Los Angeles City Attorney's Office                                             T: 213 978 7750 / F: 213 978 7711
200 North Main Street, Suite 900                                               E: wendy.loo@lacity.org
Los Angeles, CA 90012

Gary F. Torrell - #110016                                                      Counsel for RollinsNelson Grp, LLC, RollinsNelson LTC
David M. Reeder - #133150                                                        Corp., Bill Nelson & Vicki Rollins
Valensi Rose, PLC                                                              T: 310 277 8011 / F: 310 277 1706
1888 Century Park East, Suite 1100                                             E: gft/dmr@vrmlaw.com
Los Angeles, CA 90067




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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Gary E. Klausner - #069077                                                     Counsel for Roxbury Healthcare Services, LLC & Sycamore
Eve H. Karasik - #155356                                                         Health Care Services, LLC
Kurt E. Ramlo - #166856                                                        T: 310 229 1234 / F: 310 229 1244
Levene Neale Bender Yoo & Brill LLP                                            E: gek/ehk/kr@Inbyb.com
10250 Constellation Boulevard, Suite 1700
Los Angeles, CA 90067

Stephen A. Madoni - #170652                                                    Counsel for Spine Surgical Implants, Inc.
Law Office of Stephen A. Madoni                                                T: 949 723 7600 / F: 949 723 7601
3700 Newport Beach Boulevard, Suite 206                                        E: stevemadoni@aol.com
Newport Beach, CA 92663-3919

Leonard M. Shulman - #126349                                                   Counsel for Strategic Global Management, Inc.
Shulman Hodges & Bastian LLP                                                   T: 949 340 3400 / F: 949 340 3000
100 Spectrum Center Drive, Suite 600                                           E: Ishulman@shbllp.com
Irvine, CA 92618

Bruce M. Bunch - #060705                                                       Counsel for Doug Sunstedt
Law Offices of Bruce M Bunch APC                                               T: 818 707 8887 / F: 818 707 8884
200 North Westlake Boulevard, Suite 204                                        E: bruce/pam@bunchlawyers.com
Westlake Village, CA 91362

Rhonda S. Goldstein - #250387                                                  Counsel for The Regents of the University of California
Univ of CA Office of General Counsel                                           T: 510 987 9096 / F: 510 987 9757
1111 Franklin Street, 8th Floor                                                E: rhonda.goldstein/lissa.ly@ucop.edu
Oakland, CA 94607-5200

W. Jeffery Fulton - #089527                                                    Counsel for U.S. Bank N.A.
Law Office of W. Jeffery Fulton                                                T: 619 688 0018 / F: 619 688 0088
1545 Hotel Circle South, Suite 240                                             E: jeff@jefffultonlaw.com
San Diego, CA 92108-3414

Elan S. Levey - #174843                                                        Counsel for U.S. Department of Health & Human Services
Office of the U.S. Attorney                                                    T: 213 894 3997 / F: 213 894 7819
Federal Building, Suite 7516                                                   E: elan.levey@usdoj.gov
300 North Los Angeles Street
Los Angeles, CA 90012

Dare Law - #155714                                                             Counsel for U.S. Trustee (LA)
Natty K. Yip - #246487                                                         T: 213 894 4925 / F: 213 894 2603
Office of the U.S. Trustee                                                     E: dare.law/hatty.yip@usdoj.gov
915 Wilshire Boulevard, Suite 1850                                                     ustpregion16.1a.ecf@usdoj.gov
Los Angeles, CA 90017

Andrew B. Goodman - #267972                                                    Counsel for Jane Winter
Khouri Law Firm                                                                T: 949 336 2433 / F: 949 387 0044
24012 Calle de la Plata                                                        E: agoodman@khourilaw.com
Laguna Hills, CA 92653-7623

2. SERVED BY UNITED STATES MAIL: On (date) February 16, 2018, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

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June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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Jennifer Kent, Director                                                        California Department of Health Care Services
California Department of Health Care Services                                  T: 916 464 4430 / F:
1501 Capitol Avenue, Suite 4510                                                E:
Sacramento, CA 95814-5005

Employment Development Dept.                                                   Office of the Employment Development Dept.
722 Capitol Mall                                                               T: 866 333 4606 / F:
Sacramento, CA 95814-4703                                                      E:

State of California                                                            Franchise Tax Board
Franchise Tax Board                                                            T: 916 845 6500 / F:
300 South Spring Street, Suite 5704                                            E:
Los Angeles, CA 90013-1265

Constance Doyle                                                                Health Care Ombudsman
Constance Doyle, LLC                                                           T: 310 357 1088 / F: 866 651 3390
21509 Anza Avenue                                                              E:
Torrance, CA 90503-6423

Internal Revenue Service                                                       Internal Revenue Service
600 Arch Street, Suite 1507                                                    T: 267 941 6800 / F:
Philadelphia, PA 19101-1695                                                    E:

Internal Revenue Service                                                       Internal Revenue Service
300 North Los Angeles Street                                                   T: 213 576 3009 / F:
Los Angeles, CA 90012-3308                                                     E:

Stephen F. Biegenzahn - #060584                                                Counsel for Kansas State Bank of Manhattan
Friedman Law Group                                                             T: 310 552 8210 / F: 310 733 5442
1900 Avenue of the Stars, 11th Floor                                           E: sbiegenzahn@flg-law.com
Los Angeles, CA 90067-4409

Nicole Sheth - #227961                                                         Counsel for Kaufman Borgeest & Ryan, LLP
Kaufman Borgeest & Ryan, LLP                                                   T: 818 880 0992 / F: 818 880 0993
23975 Park Sorrento, Suite 370                                                 E: nsheth@kbrlaw.com
Calabasas, CA 91302-4022

Wendi A. Horwitz - #136021                                                     Office of the Attorney General
Office of the Attorney General                                                 T: 213 897 2178 / F:
300 South Spring Street, Suite 1702                                            E: wendi.horwitz@doj.ca.gov
Los Angeles, CA 90013-1256

Xavier Becerra                                                                 Office of the Attorney General
Attorney General of State of California                                        T: 916 445 9555 / F:
Office of the Attorney General                                                 E:
1300 I Street, Suite 1142
Sacramento, CA 95814-2963

Consumer Law Section                                                           Office of the Attorney General
Attn: Bankruptcy Notices                                                       T: 415 703 5500 / F: 415 703 5480
455 Golden Gate Avenue, Suite 11000                                            E:
San Francisco, CA 94102-7020


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Rebecca J. Price                                                               Counsel for Olympus Corp. of the Americas
Norris McLaughlin & Marcus, P.A.                                               T: 610 391 1800 / F: 610 391 1805
515 West Hamilton Street, Suite 502                                            E: rprice@nmmlaw.com
Allentown, PA 18101-1513

Lori L. Purkey                                                                 Counsel for Stryker Financial & Stryker Instruments
Rose E. Bareham                                                                T: 616 940 0553 / F: 616 940 0554
Purkey & Associates PLC                                                        E:
5050 Cascade Road S.E., Suite A
Grand Rapids, MI 49546-3707

Beryl Weiner - #047234                                                         Sycamore Healthcare Services LLC
Selvin & Weiner APC                                                            T: 310 07 1555 / F: 310 207 3666
12401 Wilshire Boulevard, 2nd Floor                                            E: bweiner@swlawyers.com
Los Angeles, CA 90025-1089

United States Attorney's Office                                                U.S. Attorney
Central District of California                                                 T: 213 894 2400 / F: 213 894 0141
312 North Spring Street, Suite 1200                                            E:
Los Angeles, CA 90012-2551

U.S. Department of Justice                                                     U.S. Department of Justice
Office of the Attorney General of the United States                            T: 202 514 2000 / F: 202 307 6777
950 Pennsylvania Avenue, N.W.                                                  E:
Washington, DC 20530-0001

Sylvia Mathews Burwell, Secretary                                              U.S. Department of Health & Human Services
U.S. Department of Health & Human Services                                     T: 202 690 6610 / F: 202 690 7203
200 Independence Avenue, S.W.                                                  E:
Washington, DC 20201-0007

Angela M. Belgrove                                                             U.S. Department of Health & Human Services
Assistant Regional Counsel, Region IX                                          T: 415 437 8156 / F: 415 437 8188
U.S. Department of Health & Human Services                                     E:
90 7th Street, Suite 4-500
San Francisco, CA 94103-6705

                                                          Requests for Special Notice
Marc Ferrel, President
Bridgepoint Healthcare LLC                                                     T: 202 574 5700
4601 Martin Luther King Jr. Avenue, S.W.                                       E:
Washington, DC 20032-1131

Eric Stone
California Department of Public Health                                         T: 626 569 3724 / F: 626 927 9842
Los Angeles East District Office                                               E:
3400 Aero Jet Avenue, Suite 323
El Monte, CA 91731-2803

Darrell W. Clark                                                               Counsel for Cerner Health Services
Stinson Leonard Street LLP                                                     T: 202 785 9100 / F: 202 785 9163
1775 Pennsylvania Avenue, NW, Suite 800                                        E:
Washington, DC 20006-4760

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Grace Su
Meiguo Realty Group, Inc.                                                      T: 626 677 6488
15713 Valley Boulevard                                                         E: grace@meiguorealty.com
City of Industry, CA 91744-3932

Young Park
NAEROK Group Intl Inc.                                                         T: 855 462 3765 / F: 323 596 0600
3850 Wilshire Boulevard, Suite 302                                             E: service@naerokgroup.com
Los Angeles, CA 90010-3234

Robert L. Patterson
Slovak Baron Empey Murphy & Pinkney LLP                                        T: 760 322 2275 / F: 760 322 2107
1800 East Tahquitz Canyon Way                                                  E: patterson@sbemp.com
Palm Springs, CA 92262-7104

Mark Waxman
Gerald Kosai                                                                   T: 310 701 1665
Verity Health System                                                           E:
2200 West 3rd Street, Suite 200
Los Angeles, CA 90057-1935

Cherna Moskowitz, President                                                    Amable Aguiliuz, M.D.
Pioneer Carson Corp., General Partner                                          21500 South Pioneer Boulevard, Suite 209
Cerritos Gardens General Hospital Company                                      Hawaiian Gardens, CA 90716-2605
21520 South Pioneer Boulevard, Suite 205
Hawaiian Gardens, CA 90716-2601

Aaron L. Durall                                                                Oren Ben Ezra
Durall Capital Holdings                                                        Suite 1000
8411 West Oakland Park Boulevard, Suite 302                                    1250 East Hallandale Beach Boulevard
Sunrise, FL 33351-7357                                                         Hallandale Beach, FL 33009-4636

James Hamada, M.D.
21500 South Pioneer Boulevard, Suite 208
Hawaiian Gardens, CA 90716-2605

                                                              Creditor's Committee

Rob Speeney                                                                    T: 614 533 3125
Cardinal Health 200, LLC                                                       E: rob.speeney@cardinalhealth.com
7000 Cardinal Place
Dublin, OH 43017-1091

Robert Zadek                                                                   T: 415 227 3585 / F: 415 227 3527
Lenders Funding, LLC                                                           E: rzadek@buchalter.com
55 Second Street, Suite 1700
San Francisco, CA 94105-3493

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 16, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration


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that personal delivery on, or overnight mail to, the judge will be completed no later than the next business day after the
document is filed.

Honorable Ernest M. Robles                                                     l   To the Judge's Dropbox w/ NEF behind
U.S. Bankruptcy Court, Central District of California                          ❑   By Next Business Day [Trkg#
Edward R. Roybal Federal Building and Courthouse                               ❑   By Facsimile to
255 East Temple Street, Suite 1560 / Courtroom 1568                            ❑   Proposed Order by Email to
Los Angeles, CA 90012-3542                                                                         @cacd.uscourts.gov

Eric Weissman                                                                  E: eweissman/marylane@wilshirepacificadvisors.com
Mary D. Lane
Wilshire Pacific Capital Advisors LLC
8447 Wilshire Boulevard, Suite 202
Beverly Hills, CA 90211-3207


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




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